Case 1:18-cv-03331-MMJM Document 86-7 Filed 12/17/21 Page 1 of 127




        EXHIBIT
          F1
Case 1:18-cv-03331-MMJM Document 86-7 Filed 12/17/21 Page 2 of 127




                  APPRAISAL OF REAL PROPERTY

                                    LOCATED AT:
                                   1886 Crownsville Rd
                                 Annapolis, MD 21401
                          Twin Hills Lot 28R-A and Lot 28R-B

                                            FOR:
                                Melehy & Associates LLC
                              8403 Colesville Rd, Suite 610
                                Silver Spring, MD 20910

                                          AS OF:
                                         02/17/2020

                                             BY:
                                 Stephen Rochkind, SRA

                             Area Appraisal Services




           Form GA1_LT - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
         Case 1:18-cv-03331-MMJM Document 86-7 Filed 12/17/21 Page 3 of 127




Area Appraisal Services
7131 Arlington Rd, Suite 455
Bethesda, MD 20814-2986




02/27/2020


Melehy & Associates LLC
8403 Colesville Rd, Suite 610
Silver Spring, MD 20910


Re:    Property:    1886 Crownsville Rd
                    Annapolis, MD 21401
         Owner:     Caldwell McMillan Jr & Eliza McCartney
          File #    20-0047A



In accordance with your request, we have appraised the above referenced property. The report of that appraisal is
attached.

The purpose of this appraisal is to estimate the market value of the property described in this appraisal report, as
improved, in unencumbered fee simple title of ownership.

This report is based on a physical analysis of the site and improvements, a locational analysis of the neighborhood and
city, and an economic analysis of the market for properties such as the subject. The appraisal was developed and the
report was prepared in accordance with the Uniform Standards of Professional Appraisal Practice.

The value conclusions reported are as of the effective date stated in the body of the report and contingent upon the
certification and limiting conditions attached.

It has been a pleasure to assist you. Please do not hesitate to contact me or any of my staff if we can be of additional
service to you.




Sincerely,




Stephen Rochkind, SRA
                                Case 1:18-cv-03331-MMJM Document 86-7 Filed 12/17/21 Page 4 of 127
Owner                   Caldwell McMillan Jr & Eliza McCartney                                                                                                                                              File No. 20-0047A
Property Address        1886 Crownsville Rd
City                    Annapolis                                                                              County Anne Arundel                                                           State MD                      Zip Code 21401
Client                  Melehy & Associates LLC


                                                                                                     TABLE OF CONTENTS

        Invoice .......................................................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         1
        Cover Page .................................................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         2
        Letter of Transmittal ...................................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         3
        Appraisal Report - Residential - Page 1 ......................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         4
        Appraisal Report - Residential - Page 2 ......................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         5
        Appraisal Report - Residential - Page 3 ......................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         6
        Appraisal Report - Residential - Page 4 ......................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         7
        Appraisal Report - Residential - Page 5 ......................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         8
        Appraisal Report - Residential - Page 6 ......................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         9
        Appraisal Report - Residential - Page 7 ......................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         10
        Appraisal Report - Residential - Page 8 ......................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         11
        Additional Comparables 4-6 .......................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         12
        Certifications & Limiting Conditions - Residential ........................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         13
        Graphs .......................................................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         15
        MRIS Tax Card for the Subject Property ......................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         16
        Written Addendum ......................................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         17
        Subject Photos ...........................................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         23
        Exterior Photos ...........................................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         24
        Exterior Photos ...........................................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         25
        First Floor Photograph Addendum ...............................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         26
        First Floor Photograph Addendum ...............................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         27
        First Floor Photograph Addendum ...............................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         28
        Attic Floor Photograph Addendum ..............................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         29
        Basement Floor Photograph Addendum ......................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         30
        Basement Floor Photograph Addendum ......................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         31
        Basement Floor Photograph Addendum ......................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         32
        Basement Floor Photograph Addendum ......................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         33
        Extra Lot Photograph Addendum ................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         34
        Area Map ....................................................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         35
        Location Map .............................................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         36
        Location Map .............................................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         37
        Location Map .............................................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         38
        Plat Map .....................................................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         39
        Comparable Photos 1-3 .............................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         40
        Comparable Photos 4-6 ..............................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         41
        Plat .............................................................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         42
        Building Sketch ...........................................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         43
        History of home values by MarketStats .......................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         44
        Schools ......................................................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         45
        Well Issues .................................................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         46
        Well Issues .................................................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         47
        Builder impact fees - Anne Arundel County .................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         48
        Stephen Rochkind, SRA - License ..............................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         49
        Qualifications of Appraiser - Stephen Rochkind, SRA ..................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         50




                                                                    Form TOCNP_LT - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                                                                         Area Appraisal Services, Inc.

                               Case 1:18-cv-03331-MMJM
                                       Client File #:  Document 86-7   Filed
                                                                  Appraisal      12/17/21
                                                                            File #:         Page 5 of 127
                                                                                        20-0047A



                                                                            Appraisal Report • Residential
                                                Appraisal Company:  Area Appraisal Services
                                                Address:  7131 Arlington Rd,Suite 455, Bethesda, MD 20814
              Form 100.05*                      Phone: (301) 215-7567        Fax: (301) 215-7568      Website: www.AreaDC.com
 Appraiser:   Stephen Rochkind, SRA                                                                         Co-Appraiser:
 AI Membership (if any):  SRA     MAI                             SRPA         AI-GRS           AI-RRS      AI Membership (if any):                  SRA         MAI         SRPA          AI-GRS          AI-RRS
 AI Status (if any):            Candidate for Designation                     Practicing Affiliate          AI Status (if any):             Candidate for Designation                     Practicing Affiliate
Other Professional Affiliation:               Appraisal Institute                                           Other Professional Affiliation:
 E-mail:        support@areadc.com                                                                          E-mail:
 Client:        Melehy & Associates LLC                                                                     Contact:        Suvita Melehy
 Address:       8403 Colesville Rd, Suite 610, Silver Spring, MD 20910
 Phone:         (301) 587-6364              Fax:                                                            E-mail:         smelehy@melehylaw.com;mcmillanmcca@nku.edu
 SUBJECT PROPERTY IDENTIFICATION
 Address:           1886 Crownsville Rd
 City:   Annapolis                                                           County:        Anne Arundel                                         State:      MD              ZIP:    21401
 Legal Description:             Twin Hills Lot 28R-A and Lot 28R-B


 Tax Parcel #:      020285290058962                                                                                     RE Taxes:         5,612                              Tax Year:        2019
 Use of the Real Estate As of the Date of Value:                                 Residential - Single Family Detached
 Use of the Real Estate Reflected in the Appraisal:                              Residential - Single Family Detached
 Opinion of highest and best use (if required):                                  Residential - Single Family Detached - Sell Lot 28R-B
 SUBJECT PROPERTY HISTORY
 Owner of Record:       Caldwell McMillan Jr & Eliza McCartney
 Description and analysis of sales within 3 years (minimum) prior to effective date of value:                                         N/A




 Description and analysis of agreements of sale (contracts), listings, and options:                                             N/A




 RECONCILIATIONS AND CONCLUSIONS
 Indication of Value by Sales Comparison Approach                                                            $     439,000
 Indication of Value by Cost Approach                                                                        $     N/A
 Indication of Value by Income Approach                                                                      $     N/A
 Final Reconciliation of the Methods and Approaches to Value:                                   Primary emphasis has been placed upon the Sales Comparison analysis as a result of the reliability of data. The
 Cost Approach does not offer reasonable substantiation. Due to insufficient market data to establish a reliable GRM, the Income Approach was not utilized.


 All comparable sales are located within close proximity to the Subject, and have settled within the past 17 months. The comparable sales were considered to be similar to the subject in terms of construction,
 appeal and "effective" age.


 All comparable sales were considered when coming to a final estimate of value. However, most reliance was placed on the weighted average of the comparable sales. See addendum showing calculations. The
 comparable sales closely bracket the Subject's indicated market value. In addition to the sales utilized in the report, the appraiser researched and analyzed other settled sales in the Subject's neighborhood.




 Opinion of Value as of:                            02/17/2020                                               $ 439,000
 Exposure Time:            1 to 3 months
           The above opinion is subject to:                    Hypothetical Conditions               and/or            Extraordinary Assumptions                cited on the following page.
*NOTICE: The Appraisal Institute publishes this form for use by appraisers where the appraiser deems use of the form appropriate. Depending on the assignment, the
appraiser may need to provide additional data, analysis and work product not called for in this form. The Appraisal Institute makes no representations, warranties or
guarantees as to, and assumes no responsibility for, the data, analysis or work product, or third party certifications, verifications, data specifications, scores, indexes,
or valuation tools, used or provided by the individual appraiser(s) or others in the specific contents of the AI Reports®. AI Reports® AI-100.05 Appraisal Report -
Residential© Appraisal Institute 2017, All Rights Reserved                                                                                                         June 2017

                                                         Form AI1005B - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
 Client:                Case 1:18-cv-03331-MMJM
                          Melehy & Associates LLC Document 86-7 Filed 12/17/21
                                                                       Client File #: Page 6 of 127
 Subject Property:          1886 Crownsville Rd, Annapolis, MD 21401                                               Appraisal File #:            20-0047A

 ASSIGNMENT PARAMETERS
 Intended User(s):        Melehy & Associates LLC and State of Maryland Court System.
 Intended Use:            Establish a market value for a court case. This appraisal will be used as a litigation support document.
 This report is not intended by the appraiser for any other use or by any other user.

 Type of Value:        Market Value                                                     Effective Date of Value:          02/17/2020
 Interest Appraised:         Fee Simple            Leasehold           Other
 Hypothetical Conditions: (A hypothetical condition is that which is contrary to what exists, but is asserted by the appraiser for the purpose
 of analysis. Any hypothetical condition may affect the assignment results.)




 Extraordinary Assumptions: (An extraordinary assumption is directly related to a specific assignment and presumes uncertain information
 to be factual. If found to be false this assumption could alter the appraiser’s opinions or conclusions. Any extraordinary assumption may affect
 the assignment results.)     The subject property is a grandfathered use, which would allow two lots on the 4.27 acres of land. If this is not
 true the value would be different.



 This is an Appraisal Report in accordance with Standard Rule 2-2(a) of the Uniform Standard of Professional Appraisal Practice (USPAP).
 SCOPE OF WORK
 Definition: The scope of work is the type and extent of research and analysis in an assignment. Scope of work includes the extent to which the
 property is identified, the extent to which tangible property is inspected, the type and extent of data research, and the type and extent of analysis
 applied to arrive at credible opinions or conclusions. The specific scope of work for this assignment is identified below and throughout this report.
 Scope of Subject Property Inspection/Data Sources Utilized                                Approaches to Value Developed
 Appraiser                                                                                 Cost Approach:
 Property Inspection:          Yes        No                                                   Is necessary for credible results and is developed in this analysis
 Date of Inspection:  02/17/2020                                                               Is not necessary for credible results; not developed in this analysis
                                                                                               Is not necessary for credible results but is developed in this analysis
 Describe Scope of Property Inspection, Source of Area Calculations
 and Data Sources Consulted:      See attached scope of work
                                                                                           Sales Comparison Approach:
                                                                                               Is necessary for credible results and is developed in this analysis
                                                                                               Is not necessary for credible results; not developed in this analysis
 Co-Appraiser                                                                                  Is not necessary for credible results but is developed in this analysis
 Property Inspection:          Yes        No
 Date of Inspection:
 Describe Scope of Property Inspection, Source of Area Calculations
                                                                                           Income Approach:
 and Data Sources Consulted:                                                                   Is necessary for credible results and is developed in this analysis
                                                                                               Is not necessary for credible results; not developed in this analysis
                                                                                               Is not necessary for credible results but is developed in this analysis



 Additional Scope of Work Comments:

 See attached addendum showing additional scope of work comments.




 Significant Real Property Appraisal Assistance:               None         Disclose Name(s) and contribution:




*NOTICE: The Appraisal Institute publishes this form for use by appraisers where the appraiser deems use of the form appropriate. Depending on the assignment, the
appraiser may need to provide additional data, analysis and work product not called for in this form. The Appraisal Institute makes no representations, warranties or
guarantees as to, and assumes no responsibility for, the data, analysis or work product, or third party certifications, verifications, data specifications, scores, indexes,
or valuation tools, used or provided by the individual appraiser(s) or others in the specific contents of the AI Reports®. AI Reports® AI-100.05 Appraisal Report -
Residential© Appraisal Institute 2017, All Rights Reserved                                                                                                         June 2017
                                               Form AI1005B - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
 Client:                 Case 1:18-cv-03331-MMJM
                           Melehy & Associates LLC Document 86-7 Filed 12/17/21
                                                                        Client File #: Page 7 of 127
 Subject Property:           1886 Crownsville Rd, Annapolis, MD 21401                                              Appraisal File #:            20-0047A

 MARKET AREA ANALYSIS
 Location          Built Up                                  Growth                      Supply & Demand              Value Trend              Typical Marketing Time
    Urban                          Under 25%                     Rapid                        Shortage                   Increasing               Under 3 Months
    Suburban                       25-75%                        Stable                       In Balance                 Stable                   3-6 Months
    Rural                          Over 75%                      Slow                         Over Supply                Decreasing               Over 6 Months
             Neighborhood Single Family Profile                             Neighborhood Land Use                     Neighborhood Name:              Twin Hills
        Price                                Age
     136,000               Low                0              1 Family            85 % Commercial               5 % PUD       Condo             HOA: $              /
    4,100,000              High              325             Condo                  % Vacant                  10 % Amenities: N/A
     485,000           Predominant           36              Multifamily            %                            %

 Market area description and characteristics:                 See attached addendum




 SITE ANALYSIS
 Dimensions:           No Survey was provided to appraiser                                Area:      186,001 sf
 View:        Average                                                                     Shape:      Irregular
 Drainage:         Appears Adeq                                                           Utility:   Average
 Site Similarity/Conformity To Neighborhood                                               Zoning/Deed Restriction
 Size:                                       View:                                        Zoning: RA - Residential                     Covenants, Condition & Restrictions
    Smaller than Typical                        Favorable                                 Agricultural                                    Yes      No        Unknown
    Typical                                        Typical                                   Legal        No zoning                    Documents Reviewed
    Larger than Typical                            Less than Favorable                       Legal, non-conforming                        Yes     No
                                                                                             Illegal                                   Ground Rent      $               /
 Utilities                                                                                Off Site Improvements
 Electric                 Public        Other                                             Street               Public        Private       Asphalt
 Gas                      Public        Other       Oil Tank                              Alley                Public        Private       None
 Water                    Public        Other       Well                                  Sidewalk             Public        Private       None
 Sewer                    Public        Other       Septic                                Street Lights        Public        Private       Electric
 Site description and characteristics:   No zoning letter of subject's confirmatory statutes has been provided for our review nor are we
 aware of the existence of same. The appraiser takes no responsibility of issues relating to expertise in this area. See attached photo
 addendum showing site characteristics. The subject site has overhead electric, which is typical of the area. The neighbor has a drive-way
 easement over the subject's driveway. The pipes from the well to the house run through the dilapidated old structure that may have to be
 torn down. There are three structures on the subject's site which have reached the end of their economic life. They will have to be
 demolished at a substantial cost. My estimate to demolish and remove the structures is $30,000. I estimate another $7,500 to $15,000 to fix
 the well issue and remove the underground oil tank.

 HIGHEST AND BEST USE ANALYSIS
      Present Use         Proposed Use         Other
 Summary of highest and best use analysis:           The subject site is in a residential development surrounded by other residences. There is
 little doubt that the highest and best use is for a residential structure similar to those on similar surrounding lots. A single-family residential
 use in conformance with the zoning of the site and is believed to be the only likely use.




*NOTICE: The Appraisal Institute publishes this form for use by appraisers where the appraiser deems use of the form appropriate. Depending on the assignment, the
appraiser may need to provide additional data, analysis and work product not called for in this form. The Appraisal Institute makes no representations, warranties or
guarantees as to, and assumes no responsibility for, the data, analysis or work product, or third party certifications, verifications, data specifications, scores, indexes,
or valuation tools, used or provided by the individual appraiser(s) or others in the specific contents of the AI Reports®. AI Reports® AI-100.05 Appraisal Report -
Residential© Appraisal Institute 2017, All Rights Reserved                                                                                                         June 2017
                                                  Form AI1005B - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
 Client:                Case 1:18-cv-03331-MMJM
                          Melehy & Associates LLC Document 86-7 Filed 12/17/21
                                                                       Client File #: Page 8 of 127
 Subject Property:            1886 Crownsville Rd, Annapolis, MD 21401                                                     Appraisal File #:               20-0047A

 IMPROVEMENTS ANALYSIS
 General                      Design: Rambler                  No. of Units: 1             No. of Stories: 1           Actual Age: 70                      Effective Age: 60-70
    Existing         Under Construction   Proposed                Attached                    Detached                    Manufactured                         Modular
 Other:
 Exterior Elements             Roofing:      Comp Shingle                         Siding:        Brick                                   Windows:          D.Hung,Casement
    Patio Screen Patio                    Deck Wood                        Porch                                   Pool                                     Fence
 Other:
 Interior Elements             Flooring:       Hrdw,Vin                           Walls:         Drywall                                    Fireplace #        3
 Kitchen:      Refrigerator         Range         Oven       Fan/Hood          Microwave             Dishwasher        Countertops:         Laminate
 Other:
 Foundation                       Crawl Space                                        Slab Partial                                           Basement          Partial
 Other:
 Attic                            None          Scuttle                              Drop Stair                        Stairway                                Finished
 Mechanicals                   HVAC: RAD - Not working                        Fuel:         Oil                                          Air Conditioning: Unit
 Car Storage                     Driveway 3                             Garage                                   Carport                                Finished
 Other Elements         Since this is an existing property, the appraiser was unable to verify the insulation and energy features and
 assumes that they are typical for the area.



 Above Grade Gross Living Area (GLA)
                         Living       Dining      Kitchen     Den        Family         Rec.          Bedrms     # Baths       Utility             Other                  Area Sq. Ft.
 Level 1                   1              1         1                      1                               4       2                                                                 2,250
 Level 2

 Finished area above grade contains:             Bedroom(s): 4                                  Bath(s):   2.0                            GLA:      2,250
 Summarize Above Grade Improvements:                See attached description in the photo addendum.




 Below Grade Area or Other Area
                         Living       Dining      Kitchen     Den        Family         Rec.          Bedrms     # Baths       Utility           % Finished               Area Sq. Ft.
 Below Grade                                        1          3                            2                      1             X                   90                              1,857
 Other Area

 Summarize below grade and/or other area improvements:                    See attached description in the photo addendum.




 Discuss physical depreciation and functional or external obsolescence: The subject was in overall fair condition at date of inspection. The
 home is in need of renovation. The furnace is not working. The windows were replaced in the 1980s. The roof was replaced about 15 years
 ago. There are several dilapidated outbuilding that will need to be demolished. I estimate the cost to be around $30,000 to remove these
 structures.



 Discuss style, quality, condition, size, and appeal of improvements including conformity to market area:




*NOTICE: The Appraisal Institute publishes this form for use by appraisers where the appraiser deems use of the form appropriate. Depending on the assignment, the
appraiser may need to provide additional data, analysis and work product not called for in this form. The Appraisal Institute makes no representations, warranties or
guarantees as to, and assumes no responsibility for, the data, analysis or work product, or third party certifications, verifications, data specifications, scores, indexes,
or valuation tools, used or provided by the individual appraiser(s) or others in the specific contents of the AI Reports®. AI Reports® AI-100.05 Appraisal Report -
Residential© Appraisal Institute 2017, All Rights Reserved                                                                                                         June 2017
                                                 Form AI1005B - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
 Client:                Case 1:18-cv-03331-MMJM
                          Melehy & Associates LLC Document 86-7 Filed 12/17/21
                                                                       Client File #: Page 9 of 127
 Subject Property:          1886 Crownsville Rd, Annapolis, MD 21401                                               Appraisal File #:         20-0047A

 SITE VALUATION
 Site Valuation Methodology
    Sales Comparison Approach: A set of procedures in which a value indication is derived by comparing the property being appraised to similar properties
    that have been sold recently, then applying appropriate units of comparison and making adjustments to the sale prices of the comparables based on the
    elements of comparison. The sales comparison approach may be used to value improved properties, vacant land, or land being considered as though vacant; it
    is the most common and preferred method of land valuation when an adequate supply of comparable sales are available.

    Market Extraction: A method of estimating land value in which the depreciated cost of the improvements on the improved property is estimated and
    deducted from the total sale price to arrive at an estimated sale price for the land; most effective when the improvements contribute little to the total sale price
    of the property.

    Alternative Method: (Describe methodology and rationale)




 Site Valuation
             ITEM                SUBJECT                      COMPARISON 1                  COMPARISON 2                  COMPARISON 3
 Address       1886 Crownsville Rd                    1888 Crownsville Rd          932 Chesterfield Rd           LOt PT2H Davidsonville Rd
               Annapolis, MD 21401                    Annapolis, MD 21401          Annapolis, MD 21401           Gambrills, MD 21054
 Proximity to Subject                                 Next door                    Alt market area               Alt market area
 Data Source/                                         Seller                       BrightMLS#1004619246          BrightMLS#1000131519
 Verification                                         BrightMLS Tax Cards          BrightMLS Tax Cards           BrightMLS Tax Cards
 Sales Price                    $                 N/A                  $   157,000                   $   170,000                  $    215,000
 Price /                        $                 N/A                  $ 64,344.26                   $ 45,212.77                  $ 107,500.00
 Sale Date                      N/A                    6/15/2017                               10/23/2018                              9/27/2018
 Location                       Twin Hills             Twin Hills                              Crownsville                             Davidsonville                -50,000
 Site Size                      4.27 ac                2.44 ac                                 3.76 ac                                 2.00 ac
 Site View                      Average                Average                                 Average                                 Average
 Site Improvements
Water                           Well                   Well                                 Well                                    Well
Sewer                           Septic                 Septic                               Septic                                  Septic
Nat Gas                         None                   None                                 None                                    None
Sub-dividable                   Yes - 2 lots           No                                   No                                      No
Improved                        Vacant                 Vacant                               Old home                                Vacant
 Net Adjustment                                               +        –      $           0        +           –      $           0        +           –     $      -50,000
                                                       Net Adj.          0%                 Net Adj.               0%               Net Adj.         23.3 %
 Indicated Value                                       Gross Adj.        0%$        157,000 Gross Adj.             0%$      170,000 Gross Adj.
                                                                                                                                  165,000            23.3 % $
 Prior Transfer N/A                        N/A                          N/A                              N/A
 History         N/A                       N/A                          N/A                              N/A
 Site Valuation Comments:  Most reliance was placed on comparable sale one, which is located very close to the subject property. It sold
 in 2017, which was somewhat a similar market.

 Builder impact fee run high in Anne Arundel County Maryland. I estimate that builder impact fees we be approx. $30,000 to $35,000 per
 vacant site. See addendum showing what builder impact fees pay for such as water, sewer, schools, police and fire. Drilling a well and
 installing a septic system are also expensive.


 Site Valuation Reconciliation:    Most reliance was placed on comparable land sale one. The subject property has two buildable sites. The
 larger parcel will be 2.6 acres and the smaller parcel will be 1.7 acres.

 The total value of both parcels is $302,000. The larger parcel is worth $157,000 and the smaller parcel is worth $145,000. However, the
 larger parcel will need several of the dilapidated old structures removed at a cost of $26,000. The small parcel has one structure that will
 need to be removed at a cost of $4,000. Hence, the final value of both parcels would be $272,000

 Opinion of Site Value                                                                   $ 272,000 for the entire 4.27 acres of land
*NOTICE: The Appraisal Institute publishes this form for use by appraisers where the appraiser deems use of the form appropriate. Depending on the assignment, the
appraiser may need to provide additional data, analysis and work product not called for in this form. The Appraisal Institute makes no representations, warranties or
guarantees as to, and assumes no responsibility for, the data, analysis or work product, or third party certifications, verifications, data specifications, scores, indexes,
or valuation tools, used or provided by the individual appraiser(s) or others in the specific contents of the AI Reports®. AI Reports® AI-100.05 Appraisal Report -
Residential© Appraisal Institute 2017, All Rights Reserved                                                                                                         June 2017
                                               Form AI1005B - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
 Client:               Case 1:18-cv-03331-MMJM
                         Melehy & Associates LLC Document 86-7 Filed 12/17/21
                                                                      Client File #: Page 10 of 127
 Subject Property:          1886 Crownsville Rd, Annapolis, MD 21401                                              Appraisal File #:          20-0047A

 SALES COMPARISON APPROACH
         ITEM           SUBJECT                                 COMPARISON 1                    COMPARISON 2                  COMPARISON 3
 Address       1886 Crownsville Rd                     1780 Crownsville Rd             1339 Generals Hwy             2888 Spring Lakes Dr
               Annapolis, MD 21401                     Annapolis, MD 21401             Crownsville, MD 21032         Davidsonville, MD 21035
 Proximity to Subject                                  0.68 miles N                    2.79 miles N                  2.54 miles SW
 Data Source/                                          Brightmls#mdaa424082            Brightmls#mdaa414990          Brightmls#mdaa375812
 Verification                                         Bright MLS/ Tax Records/Agent    Bright MLS/ Tax Records       Bright MLS/ Tax Records
 Original List Price             $                N/A                    $     450,000                   $   100,000                   $   450,000
 Final List Price                $                N/A                    $     450,000                   $   100,000                   $   450,000
 Sale Price                      $                N/A                    $     422,000                   $   300,000                   $   430,000
 Sale Price % of Original List                      %                           93.8 %                       300.0 %                        95.6 %
 Sale Price % of Final List                         %                           93.8 %                       300.0 %                        95.6 %
 Closing Date                    N/A                  Pending Sale                     11/26/19                      02/14/20
 Days On Market                  N/A                  4                                45                            33
 Price/Gross Living Area         $                    $           243.37               $          211.12             $          150.56
                                    DESCRIPTION        DESCRIPTION    +(-) Adjustment     DESCRIPTION    +(-) Adjustment     DESCRIPTION    +(-) Adjustment
 Financing Type                  N/A                Pending                           Auction                            Arms Length
 Concessions                     N/A                Sale                              Cash/$0                            Cntvl/$0
 Contract Date                   N/A                02/11/2020                        11/14/2019                         12/16/2019
 Location                        Twin Hills         Crownsville                       Crownsville                        Spring Lakes
 Site Size                       4.27 ac (2 sites) 1.27 ac                +150,000 1.20 ac                   +150,000 1.13 ac                   +150,000
 Site Views/Appeal               Average            Average                           Average                            Average
 Design and Appeal               Rambler            Cape Cod                          Rambler                            Bi-Level
 Quality of Construction         Q3                 Q3                                Q3                                 Q3
 Age                             70                 65                                57                                 47
 Condition                       C5                 C4                     -100,000 C5                                   C4                      -100,000
 Above Grade Bedrooms            Bedrooms      4    Bedrooms     4                    Bedrooms       2                   Bedrooms      4
 Above Grade Baths               Baths        2.0 Baths          2                    Baths         2.0                  Baths        2.1           -5,000
 Gross Living Area                     2,250 Sq.Ft.      1,734 Sq.Ft.       +25,800         1,421 Sq.Ft.       +41,500         2,856 Sq.Ft.       -30,300
 Below Grade Area                Partial Basement Partial Basement                    Full Basement                      None                     +20,000
 Below Grade Finish              Finished           Unfinished              +15,000 Finished                             None                     +20,000
 Other Area                      None                  None                                    None                                   None
 None                            None             None                           None                                              None
 Functional Utility              Average          Average                        Average                                           Average
 Heating/Cooling                 RAD/Units        FWA/Units                    0 FWA/CAC                                   -15,000 FWA/CAC                          -15,000
 Car Storage                     None             None                           Gar: 1/Cpt: 1                             -20,000 None
 Fireplace                       3 F/P            0 F/P                 +12,000 1 F/P                                       +8,000 2 F/P                             +4,000
 Amenities                       Fence, Scr Patio Patio                        0 Patio                                           0 Patio                                  0
 KItchen                         Inferior Kit     Standard Kit          -20,000 Standard Kit                               -20,000 Standard Kit                     -20,000
 Net Adjustment (total)                                  +     –    $    82,800         +      –   $                       144,500        +     –     $              23,700
                                                  Net Adj.   19.6 %              Net Adj.   48.2 %                                 Net Adj.     5.5 %
 Adjusted Sale Price                              Gross Adj. 76.5 % $   504,800 Gross Adj. 84.8 % $                        444,500 Gross Adj. 84.7 % $             453,700
 Prior Transfer N/A                               N/A                            N/A                                               N/A
 History        N/A                               N/A                            N/A                                               N/A
 Comments and reconciliation of the sales comparison approach:        See attached addenda.




 Indication of Value by Sales Comparison Approach                                        $ 439,000
*NOTICE: The Appraisal Institute publishes this form for use by appraisers where the appraiser deems use of the form appropriate. Depending on the assignment, the
appraiser may need to provide additional data, analysis and work product not called for in this form. The Appraisal Institute makes no representations, warranties or
guarantees as to, and assumes no responsibility for, the data, analysis or work product, or third party certifications, verifications, data specifications, scores, indexes,
or valuation tools, used or provided by the individual appraiser(s) or others in the specific contents of the AI Reports®. AI Reports® AI-100.05 Appraisal Report -
Residential© Appraisal Institute 2017, All Rights Reserved                                                                                                         June 2017
                                               Form AI1005B - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                        ADDITIONAL
                       Case 1:18-cv-03331-MMJM     COMPARABLE
                                                Document          SALES
                                                         86-7 Filed 12/17/21 Page 11 of 127
 Client:                    Melehy & Associates LLC                                                               Client File #:
 Subject Property:          1886 Crownsville Rd, Annapolis, MD 21401                                              Appraisal File #:          20-0047A

 SALES COMPARISON APPROACH
        ITEM           SUBJECT                                COMPARISON 4                            COMPARISON 5                           COMPARISON 6
 Address       1886 Crownsville Rd                1730 Underwood Rd                  1827 Underwood Rd
               Annapolis, MD 21401                Gambrills, MD 21054                Gambrills, MD 21054
 Proximity to Subject                             4.07 miles W                       4.21 miles W
 Data Source/                                     Brightmls#1002210944               Brightmls#mdaa402806
 Verification                                     Bright MLS/ Tax Records            Bright MLS/ Tax Records
 Original List Price           $              N/A                    $     485,000                      $     499,900                      $
 Final List Price              $              N/A                    $     485,000                      $     524,900                      $
 Sale Price                    $              N/A                    $     485,000                      $     505,000                      $
 Sale Price % of Original List                  %                          100.0 %                            101.0 %                                   %
 Sale Price % of Final List                     %                          100.0 %                              96.2 %                                  %
 Closing Date                  N/A                09/21/18                           08/30/19
 Days On Market                N/A                12                                 37
 Price/Gross Living Area       $                  $          351.70                  $          429.42                  $
                                  DESCRIPTION        DESCRIPTION     +(-) Adjustment    DESCRIPTION     +(-) Adjustment    DESCRIPTION     +(-) Adjustment
 Financing Type                N/A                Arms Length                        Arms Length
 Concessions                   N/A                VA/$9,700                  -9,700 Cntvl/$5,000               +5,000
 Contract Date                 N/A                08/21/2018                         07/31/2019
 Location                      Twin Hills         Gambrills                          Crofton
 Site Size                     4.27 ac (2 sites) 2.00 ac                 +125,000 4.51 ac                            0
 Site Views/Appeal             Average            Average                            Average
 Design and Appeal             Rambler            Rambler                            Raised Rambler
 Quality of Construction       Q3                 Q3                                 Q3
 Age                           70                 55                                 48
 Condition                     C5                 C3                      -120,000 C3                        -120,000
 Above Grade Bedrooms          Bedrooms      4    Bedrooms     3                     Bedrooms     3                     Bedrooms
 Above Grade Baths             Baths        2.0 Baths         2.0                    Baths       2.0                    Baths
 Gross Living Area                   2,250 Sq.Ft.       1,379 Sq.Ft.       +43,600         1,176 Sq.Ft.       +53,700               Sq.Ft.
 Below Grade Area              Partial Basement Full Basement                        Full Basement
 Below Grade Finish            Finished           Finished                           Finished
 Other Living Area             None               None                               None
 None                           None                   None                                 None
 Functional Utility             Average                Average                              Average
 Heating/Cooling                RAD/Units              RAD/CAC                      -15,000 RAD/CAC                        -15,000
 Car Storage                    None                   None                                 Gar: 4                         -60,000
 Fireplace                      3 F/P                  1 F/P                         +8,000 1 F/P                           +8,000
 Amenities                      Fence, Scr Patio       Deck,Pool                    -15,000 Deck                                 0
 KItchen                        Inferior Kit           Modern Kit                   -40,000 Modern Kit                     -40,000
 Net Adjustment (total)                                       +     –    $          -23,100        +    –     $           -168,300        +            –     $
                                                       Net Adj.    4.8 %                    Net Adj.   33.3 %                      Net Adj.                %
 Adjusted Sale Price                                   Gross Adj. 77.6 % $          461,900 Gross Adj. 59.7 % $            336,700 Gross Adj.              %$
 Prior Transfer N/A                                    N/A                                  N/A
 History        N/A                                    N/A                                  N/A
 Comments:

 These sales are being provided as a supporting indicator of value. See attached addendum.




*NOTICE: The Appraisal Institute publishes this form for use by appraisers where the appraiser deems use of the form appropriate. Depending on the assignment, the
appraiser may need to provide additional data, analysis and work product not called for in this form. The Appraisal Institute makes no representations, warranties or
guarantees as to, and assumes no responsibility for, the data, analysis or work product, or third party certifications, verifications, data specifications, scores, indexes,
or valuation tools, used or provided by the individual appraiser(s) or others in the specific contents of the AI Reports®. AI Reports® AI-100.05 Appraisal Report -
Residential© Appraisal Institute 2017, All Rights Reserved                                                                                                         June 2017
                                            Form AI1005B.(AC) - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                         Case 1:18-cv-03331-MMJM Document 86-7 Filed 12/17/21 Page 12 of 127
 Client:                       Melehy & Associates LLC                                                                      Client File #:
 Subject Property:             1886 Crownsville Rd, Annapolis, MD 21401                                                     Appraisal File #:             20-0047A

 STATEMENT OF ASSUMPTIONS AND LIMITING CONDITIONS
 This appraisal is subject to the following assumptions and limiting conditions:
     This report is prepared using forms developed and copyrighted by the Appraisal Institute. However, the content, analyses, and
     opinions set forth in this report are the sole product of the appraiser. The Appraisal Institute is not liable for any of the content,
     analyses, or opinions set forth herein.
     No responsibility is assumed for matters legal in character or nature. No opinion is rendered as to title, which is assumed to be
     good and marketable. All existing liens, encumbrances, and assessments have been disregarded, unless otherwise noted, and
     the property is appraised as though free and clear, having responsible ownership and competent management.
     I have examined the property described herein exclusively for the purposes of identification and description of the real property.
     The objective of our data collection is to develop an opinion of the highest and best use of the subject property and make
     meaningful comparisons in the valuation of the property. The appraiser’s observations and reporting of the subject
     improvements are for the appraisal process and valuation purposes only and should not be considered as a warranty of any
     component of the property. This appraisal assumes (unless otherwise specifically stated) that the subject is structurally sound
     and all components are in working condition.
     I will not be required to give testimony or appear in court because of having made an appraisal of the property in question,
     unless specific arrangements to do so have been made in advance, or as otherwise required by law.
     I have noted in this appraisal report any significant adverse conditions (such as needed repairs, depreciation, the presence of
     hazardous wastes, toxic substances, etc.) discovered during the data collection process in performing the appraisal. Unless
     otherwise stated in this appraisal report, we have no knowledge of any hidden or unapparent physical deficiencies or adverse
     conditions of the property (such as, but not limited to, needed repairs, deterioration, the presence of hazardous wastes, toxic
     substances, adverse environmental conditions, etc.) that would make the property less valuable, and have assumed that there
     are no such conditions and make no guarantees or warranties, express or implied. We will not be responsible for any such
     conditions that do exist or for any engineering or testing that might be required to discover whether such conditions exist.
     Because I am not an expert in the field of environmental hazards, this appraisal report must not be considered as an
     environmental assessment of the property. I obtained the information, estimates, and opinions furnished by other parties and
     expressed in this appraisal report from reliable public and/or private sources that I believe to be true and correct.
     I will not disclose the contents of this appraisal report except as provided for in the Uniform Standards of Professional Appraisal
     Practice, and/or applicable federal, state or local laws.
     The Client is the party or parties who engage an appraiser (by employment or contract) in a specific assignment. A party
     receiving a copy of this report from the client does not, as a consequence, become a party to the appraiser-client relationship.
     Any person who receives a copy of this appraisal report as a consequence of disclosure requirements that apply to an
     appraiser’s client, does not become an intended user of this report unless the client specifically identified them at the time of the
     assignment. The appraiser's written consent and approval must be obtained before this appraisal report can be conveyed by
     anyone to the public through advertising, public relations, news, sales, or other media.
     A true and complete copy of this report contains 50 pages including exhibits which are considered an integral part of the
     report. The appraisal report may not be properly understood without access to the entire report.
     If this valuation conclusion is subject to satisfactory completion, repairs, or alterations, it is assumed that the improvements will
     be completed competently and without significant deviation.

 US Treas. Reg. Section 20.2031-1(b)-Market Value

 VALUE DEFINITION
      Market Value Definition (below)                                                           Alternate Value Definition (attached)
  MARKET VALUE is defined as the most probable price which a property should bring in a competitive and open market under all
  conditions requisite to a fair sale, the buyer and seller each acting prudently and knowledgeably, and assuming the price is not
  affected by undue stimulus. Implicit in this definition is the consummation of a sale as of a specified date and the passing of title
  from seller to buyer under conditions whereby:
 1. buyer and seller are typically motivated;
 2. both parties are well informed or well advised and acting in what they consider their own best interests;
 3. a reasonable time is allowed for exposure in the open market;
 4. payment is made in terms of cash in U.S. dollars or in terms of financial arrangements comparable thereto; and
 5. the price represents the normal consideration for the property sold unaffected by special or creative financing or sales
    concessions granted by anyone associated with the sale.
                                                                          Source: The Dictionary of Real Estate Appraisal, 4th ed., Appraisal Institute
* NOTICE: The Appraisal Institute publishes this form for use by appraisers where the appraiser deems use of the form appropriate. Depending on the assignment, the appraiser may need
to provide additional data, analysis and work product not called for in this form. The Appraisal Institute plays no role in completing the form and disclaims any responsibility for the data,
analysis or any other work product provided by the individual appraiser(s).
AI Reports® AI-900.03 Assumptions and Limiting Conditions/Certification                        © Appraisal Institute 2008, All Rights Reserved                                  December 2008
                                                    Form AI9003 - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                         Case 1:18-cv-03331-MMJM Document 86-7 Filed 12/17/21 Page 13 of 127
 Client:                       Melehy & Associates LLC                                                                      Client File #:
 Subject Property:             1886 Crownsville Rd, Annapolis, MD 21401                                                     Appraisal File #:             20-0047A

 APPRAISER CERTIFICATION
 I certify that, to the best of my knowledge and belief:
      The statements of fact contained in this report are true and correct.
      The reported analysis, opinions, and conclusions are limited only by the reported assumptions and limiting conditions, and are
      my personal, unbiased professional analysis, opinions, and conclusions.
      I have no present (unless specified below) or prospective interest in the property that is the subject of this report, and I have no
      (unless specified below) personal interest with respect to the parties involved.
      I have no bias with respect to any property that is the subject of this report or to the parties involved with this assignment.
      My engagement in this assignment was not contingent upon the developing or reporting predetermined results.
      My compensation for completing this assignment is not contingent upon the development or reporting of a predetermined value
      or direction in value that favors the cause of the client, the amount of the value opinion, the attainment of a stipulated result, or
      the occurrence of a subsequent event directly related to the use of this appraisal.
      My analysis, opinions, and conclusions were developed, and this report has been prepared, in conformity with the Uniform
      Standards of Professional Appraisal Practice.
      Individuals who have provided significant real property appraisal assistance are named below. The specific tasks performed by
      those named are outlined in the Scope of Work section of this report.
           None               Name(s)
      As previously identified in the Scope Of Work section of this report, the signer(s) of this report certify to the inspection of the
      property that is the subject of this report as follows:
      Property inspected by Appraiser                              Yes          No
      Property inspected by Co-Appraiser                           Yes          No




 ADDITIONAL CERTIFICATION FOR APPRAISAL INSTITUTE MEMBERS
 Appraisal Institute Member Certify:
      The reported analyses, opinions, and conclusions were developed, and this report has been prepared, in conformity with the
      requirements of the Code of Professional Ethics & Standards of Professional Appraisal Practice of the Appraisal Institute, which
      include the Uniform Standards of Professional Appraisal Practice.
      The use of this report is subject to the requirements of the Appraisal Institute relating to review by its duly authorized
      representatives.
 Designated Appraisal Institute Member Certify:                                                 Designated Appraisal Institute Member Certify:
    As of the date of this report, I   have /     have not completed                               As of the date of this report, I    have /    have not completed
    the continuing education program of the Appraisal Institute.                                   the continuing education program of the Appraisal Institute.
 APPRAISER:                                                                                     CO-APPRAISER:
 Signature                                                                                      Signature
 Name        Stephen Rochkind, SRA                                                              Name
 Report Date        02/27/2020                                                                  Report Date
 Trainee          Licensed          Certified Residential           Certified General          Trainee          Licensed          Certified Residential            Certified General
 License #        30004176                                       State MD                       License #                                                       State
 Expiration Date 09/15/2022                                                                     Expiration Date
* NOTICE: The Appraisal Institute publishes this form for use by appraisers where the appraiser deems use of the form appropriate. Depending on the assignment, the appraiser may need
to provide additional data, analysis and work product not called for in this form. The Appraisal Institute plays no role in completing the form and disclaims any responsibility for the data,
analysis or any other work product provided by the individual appraiser(s).
AI Reports® AI-900.03 Assumptions and Limiting Conditions/Certification                        © Appraisal Institute 2008, All Rights Reserved                                  December 2008
                           Graphs86-7 Filed 12/17/21 Page 14 of 127
Case 1:18-cv-03331-MMJM Document




            Form SCNLTR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
             MRIS Tax Card
Case 1:18-cv-03331-MMJM    for the 86-7
                        Document    Subject
                                         FiledProperty
                                               12/17/21 Page 15 of 127




            Form SCNLTR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                       Case 1:18-cv-03331-MMJM
                                          WrittenDocument
                                                  Addendum86-7 Filed 12/17/21 Page      16 of 127
                                                                               File No. 20-0047A
Owner               Caldwell McMillan Jr & Eliza McCartney
Property Address    1886 Crownsville Rd
City                Annapolis                                    County Anne Arundel                           State MD   Zip Code 21401
Client              Melehy & Associates LLC

     Prior Services:

     I have performed no other services, as an appraiser or in any other capacity, regarding the property that is the
     subject of the work under review within the three-year period immediately preceding acceptance of this assignment.


     Assumptions and Limiting Conditions:
     This appraisal report has been made with the following assumptions and limiting conditions:

     This is an Appraisal Report, which is intended to comply with the reporting requirements set forth under Standards
     Rule 2-2A of the Uniform Standards of Professional Appraisal Practice for an Appraisal Report. As such, it presents
     only discussions of the data, reasoning, and analyses that were used in the appraisal process to develop the
     appraiser's opinion of value. Supporting documentation that is not provided with the report concerning the data,
     reasoning, and analyses is retained in the appraiser's file. The depth of discussion contained in this report is specific
     to the needs of the client and for the intended use stated in the report. The appraiser is not responsible for
     unauthorized use of this report.

     The legal description furnished is assumed to be correct. The appraiser assumes no responsibility for matters legal
     in character, nor renders any opinion as to the title, which is assumed to be good.

                   Owner of Record: Caldwell McMillan Jr & Eliza McCartney
                   Legal Description: Twin Hills Lot 28R-A and Lot 28R-B

                   Zoning: RA - Residential Agricultural

     The property was appraised as having knowledgeable ownership and competent management.

     The appraiser has made no survey and assumes no responsibility in connection with such matters.

     The information identified in this report as being furnished by others was believed to be reliable, but no responsibility
     for its accuracy is assumed.

     If the appraiser has made a sketch of the improvements taken from the measurements of the exterior of the
     building. Interior measurements/labeling are approximate.

     Unless otherwise stated in this report, the existence of hazardous material, which may or may not be present on the
     property, was not observed by the appraiser. The appraiser has no knowledge of the existence of such materials on
     or in the properties. The appraiser, however, is not qualified to detect such substance(s). The presence of
     substances such as asbestos, urea-formaldehyde foam insulation, or other potentially hazardous materials may
     affect the values of the properties. The value estimates are predicated on the assumption that there were no such
     materials on or in the property that would cause a loss in value. No responsibility is assumed for any such conditions
     or for expertise or engineering knowledge required to discover them.

     The appraiser assumes that there are no hidden or unapparent conditions of the property or subsoil which would
     render them more or less valuable. The appraiser assumes no responsibility for such conditions or for engineering
     studies, which might be required to discover such factors.

     Information, estimates, and opinions furnished to the appraiser and contained in this report were obtained from
     sources considered reliable and believed to be true and correct. However, the appraiser can assume no
     responsibility for accuracy of such items furnished to the appraiser.

     Neither all nor any part of the contents of this report shall be conveyed to the public through advertising, public
     relations, news, sales, or other media without the written consent and approval of the author, particularly as to
     valuation conclusions, the identity of the appraisers, or the firm with which they are connected, or any reference to
     the Appraisal Institute or the MAI or SRA designation.

                                         Form TADD_LT - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                      Case 1:18-cv-03331-MMJM
                                         WrittenDocument
                                                 Addendum86-7 Filed 12/17/21 Page      17 of 127
                                                                              File No. 20-0047A
Owner              Caldwell McMillan Jr & Eliza McCartney
Property Address   1886 Crownsville Rd
City               Annapolis                                    County Anne Arundel                           State MD   Zip Code 21401
Client             Melehy & Associates LLC


     Extent to Which the Property Is Identified

     Physical characteristics
     In this appraisal assignment, I viewed the subject improvements in order to gather information about the physical
     characteristics of the subject improvements that are relevant to the valuation problem.

     Extent to Which the Property Is Inspected

     I viewed the subject property.

     Type and Extent of the Data Researched

     Sales of similar properties that have occurred over the past were researched in geographic area.

     Type and Extent of Analysis Applied

     The value opinions presented in this report are based upon review and analysis of the market conditions affecting
     real property value, including land values, cost and depreciation estimates, the attributes of competitive properties,
     and sales data for residential properties.

     The appraisal problem did not warrant an intensive highest and best use study. Given the nature of the subject real
     estate, my conclusion of highest and best use was based on logic and observed evidence.

     I have considered all three approaches and then reconciled them to arrive at a final opinion of value for the subject
     property. I may not have used all three approaches.

     There are three traditional approaches used to arrive at an opinion of value of real estate: the sales comparison
     approach, the cost approach, and the income capitalization approach. All three approaches to value were
     considered to arrive at an opinion of the market value of the subject property as of the date of this appraisal.

     After selecting the sales, a comparative analysis of relevant factors that influence value was undertaken to adjust the
     sales to the subject property based upon the actions and preferences demonstrated by the participants in the
     marketplace.

     Three approaches to value have been considered in arriving at an opinion of value of the leased fee (fee simple)
     interest in the subject property. In the reconciliation, I considered the quantity and quality of the data available under
     each approach, the advantages and/or the disadvantages of each approach, and the relevance of each to the
     subject property and the appraisal problem.



     Market Area Description and Characteristics:
     The Washington Metropolitan Area, formally known as the Washington–Arlington–Alexandria, DC–VA–MD–WV MSA, and
     also known as the National Capital Region, is a U.S. Metropolitan Statistical Area (MSA) defined by the United States Office of
     Management and Budget. It is also part of the larger Baltimore–Washington Metropolitan Area, the fourth-largest combined
     statistical area in the United States.

     The Washington Metropolitan Area is the most educated and affluent metropolitan area in the United States. As of the 2008
     Census Bureau estimate, the population of the Washington Metropolitan Area was estimated to be 5,358,130, making it the
     ninth-largest metropolitan area in the country

     Anne Arundel County covers 416 square miles and as of 2007 has a estimated population of 515,745. Boasting 534 miles of
     shoreline along the Chesapeake Bay, Anne Arundel County is a study in contrasts, ranging from Baltimore-Washington
     International Airport and bustling centers of high technology and research industries to the rural charm of small towns and


                                        Form TADD_LT - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                      Case 1:18-cv-03331-MMJM
                                         WrittenDocument
                                                 Addendum86-7 Filed 12/17/21 Page      18 of 127
                                                                              File No. 20-0047A
Owner              Caldwell McMillan Jr & Eliza McCartney
Property Address   1886 Crownsville Rd
City               Annapolis                                    County Anne Arundel                           State MD   Zip Code 21401
Client             Melehy & Associates LLC
     rolling farmland and the rich history of Annapolis and the U.S. Naval Academy.

     The foundation of the County's economy is Internet-based businesses, telecommunications, distribution and technical support
     services. Other growth industries are health-care, medical products and services and computer-related business services. Anne
     Arundel County is also becoming a major center for national and international company headquarters. The County's 11,981
     businesses include Northrop Grumman; ARINC; CIENA Corp; Computer Sciences Corp. and USinternetworking.

     Annapolis is the capital of the state of Maryland, as well as the county seat of Anne Arundel County. It has a population of
     36,408 (July 2006 est.), and is situated on the Chesapeake Bay at the mouth of the Severn River, 26 miles (42 km) south of
     Baltimore and about 29 miles (47 km) east of Washington D.C. Annapolis is part of the Baltimore-Washington Metropolitan
     Area. The city was the temporary capital of the United States in 1783–1784 and the site of the Annapolis Peace Conference,
     held in November 2007, at the United States Naval Academy. St. John's College is also in Annapolis.

     Transportation

     Bus: The Annapolis Department of Transportation (ADOT) provides bus service with eleven routes. The extensive system
     serves the State capital with recreational areas, shopping centers, educational and medical facilities and employment hubs.
     ADOT also offers transportation for elderly and persons with disabilities.

     Railway: Oddly, Annapolis is the only capital city in America bereft of rail transport of any sort. From 1840 to 1968, Annapolis
     was connected to the outside world by the railroads. The Washington, Baltimore & Annapolis Railroad (WB&A) operated two
     electrified interurban lines that brought passengers into the city from both the South and the North. The southern route ran down
     King George Street and Main Street, leading directly to the statehouse, while the northern route entered town via Glen Burnie. In
     1935, the WB&A went bankrupt due to the effects of the Great Depression and suspended service along its southern route,
     while the newly created Baltimore and Annapolis Railroad (B&A) retained service on the northern route. Steam trains of the
     Baltimore and Ohio Railroad also occasionally operated over the line to Annapolis, primarily for special Naval Academy
     movements. Passenger rail service on the B&A was eventually discontinued in 1950; freight service ceased in 1968 after the
     dilapidated trestle crossing the Severn River was condemned. The tracks were eventually dismantled in 1976.

     The popular Baltimore & Annapolis Trail now occupies the former railway line between the Severn River and Glen Burnie. The
     equally popular Washington, Baltimore and Annapolis Trail occupies the WB&A's southern route into Annapolis.

     Education

     Annapolis is served by the Anne Arundel County Public Schools system.

     Founded in 1898, Annapolis High School has an internationally recognized IB International Program. Nearby Broadneck High
     School (founded in 1982) and Annapolis both have Advanced Placement Programs. St. Mary's High School and Elementary
     School are located in downtown Annapolis on Spa Creek. Eastport Elementary School, Aleph Bet Jewish Day School, Annapolis
     Area Christian School, St. Martins Lutheran School, Severn School, and Indian Creek School are also in the Annapolis area.
     The Key School, located on a converted farm in the neighborhood of Hillsmere, has also served Annapolis for over 50 years.

     Highest and Best Use

     The Highest and Best Use of a property refers to the reasonably probable and legal use of vacant land or an
     improved property that is physically possible, appropriately supported, and financially feasible and that results in the
     highest value.

     A highest and best use study seeks to identify which use would bring maximum value to a piece of vacant land or an
     improved parcel.

     A highest and best use analysis for a given property must meet certain criteria that flow in sequential order. The
     order is generally:

           1. Legally permissible

           2. Physically possible

           3. Financially feasible




                                        Form TADD_LT - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                       Case 1:18-cv-03331-MMJM
                                          WrittenDocument
                                                  Addendum86-7 Filed 12/17/21 Page      19 of 127
                                                                               File No. 20-0047A
Owner               Caldwell McMillan Jr & Eliza McCartney
Property Address    1886 Crownsville Rd
City                Annapolis                                    County Anne Arundel                           State MD   Zip Code 21401
Client              Melehy & Associates LLC
           4. Maximally productive

     The sequential order of legally permissible and physically possible may be applied in either order. However, a
     potential use must comply with both these requirements prior to moving into the financially feasible or maximally
     productive analysis. That is, a use that is not legally permissible by zoning or other restrictions, or that is not
     physically possible due to site or building limitations would not be considered for financial feasibility.

     Highest and Best Use As Vacant vs. As Improved

     Most real estate is either vacant (land) or improved with one or more buildings. As a result, highest and best use
     analyses are divided into two subcategories:

           ·       Highest and best use, as though vacant

           ·       Highest and best use, as improved

     An analysis related to the highest and best use as vacant seeks to identify the highest and best use of the land as if
     it were available for development. This is done by either hypothetically assuming there is no building (if it is already
     improved), or by utilizing the existing characteristics (if there is no building) of the land.

     An analysis related to the highest and best use as improved is applicable if the property is improved, or slated for
     new construction. This analysis seeks to identify the highest and best use of the property while taking into account
     the existing or proposed improvements. If an appraisal is being developed for new construction, it is common to also
     analyze the highest and best use as if improved as proposed.

     Highest and Best Use as though Vacant

     In an analysis into the highest and best use, as though vacant, appraisers generally seek to answer the following
     questions:

           ·       Should the land be developed or left vacant?

           ·       If left vacant, when would future development be financially feasible?

           ·       If developed, what kind of improvement should be built?

     As vacant, the highest and best use of a property may be to continue keeping the land vacant if there is no
     financially feasible development option. This could be considered an interim use until conditions become favorable
     for development. Or, the highest and best use could be to immediately develop the land into a specific property type.

     It is important to understand that if an appraiser is developing a stand-along highest and best use study of the land
     as though vacant, or even if it is a subsection of an appraisal, the residual land value determined as a result of the
     analysis may not be absolute, nor certified. Rather, it is used to compare relative alternatives to understand which
     use would yield a higher value.

     Highest and Best Use as Improved

     Conversely, the highest and best use analysis, as improved, generally contemplates 3 options:

           1. Demolish the existing improvements and redevelop the site - No

           2. Continue the existing use - Yes

           3. Modify the existing use - Yes

      These relate to the following questions:

           ·       Should the existing improvements on the property be maintained in their current state, should they be
                   altered in some manner to make them more valuable, or should they be demolished to create a vacant site


                                         Form TADD_LT - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                       Case 1:18-cv-03331-MMJM
                                          WrittenDocument
                                                  Addendum86-7 Filed 12/17/21 Page      20 of 127
                                                                               File No. 20-0047A
Owner               Caldwell McMillan Jr & Eliza McCartney
Property Address    1886 Crownsville Rd
City                Annapolis                                    County Anne Arundel                           State MD      Zip Code 21401
Client              Melehy & Associates LLC
                   for a different use? The home needs about $40,000 to $60,000 in work. The furnace is not working needs to
                   be replaced. The roof is 15 years old. The windows are from the 1980s. There is water damage in the
                   basement. There are several dilapidated old structures that will need to be removed. An investor will want to
                   be compensated for removing the structures, risk and the time value of money.

           ·       If renovation or redevelopment is warranted, when should the new improvements be built? Now. The
                   condition of the property will make getting a conventional loan very difficult. The most likely purchaser of the
                   property is an investor.

     If the existing use will remain financially feasible and is more profitable than modification or redevelopment, the
     existing use will remain the highest and best use of the property as improved.

     If the benefits of modifying the property or redeveloping the property outweigh all costs, including demolition, altering
     the property is generally considered financially feasible.



     Sales Comparison Approach To Value Comments:
     In the market analysis, adjustments were made for additional baths. This is due to the market's recognition of these
     items above and beyond the contributory value of marginal living area. Though room counts vary slightly, the
     comparable sales were otherwise similar to the subject and appropriate adjustments were made.

     The appraiser notes the variance in price per living area among the comparable sales is due primarily to their
     differing Gross Living Area (GLA) amenities and that they are considered to be effectively competing in the
     marketplace. GLA adjustments are made at $50 per square foot.

     The sales were chosen for the overall compatibility in most areas of comparison and the most similar comparable
     sales available from an extensive search of data. All comparable sales are within the subject's market area.
     Comparable one is a pending sale. The actual selling price is unknown. However, I spoke with the agent. It is approx
     pending at $422,000.

     Comparable sale two is an auction home. It appeared to be a slightly outlier to the low side. Comparables four and
     five had seller concessions. Both were in far superior condition to the subject property.

     Comparables Summary & Estimated Indicated Value

                                       Sale Price                           Grs Adj %                            Ind Value                    Weight

     Comp #1:                          422,000                              65.83                                549,800                      20.39
     Comp #2:                          300,000                              99.83                                499,500                      18.01
     Comp #3:                          430,000                              74.26                                498,700                      19.80
     Comp #4:                          485,000                              67.28                                511,900                      20.29
     Comp #5:                          505,000                              49.84                                386,700                      21.51


     ESTIMATED INDICATED VALUE OF THE SUBJECT                                                 : 487,850
     YOUR INDICATED VALUE OF THE SUBJECT                                                      : 485,000


     Estimated indicated value is determined by using the Gross Adjustment of sale price for each comparable as a
     measure of the relative quality of the comp. A lower adjustment indicates a better comp, and vice versa. The ratio
     of gross dollar adjustment to sale price for each of the comps is used to calculate the weight each comp should have
     in a weighted average calculation. This weighted average is used as the indicated value of the subject.




                                         Form TADD_LT - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                      Case 1:18-cv-03331-MMJM
                                         WrittenDocument
                                                 Addendum86-7 Filed 12/17/21 Page      21 of 127
                                                                              File No. 20-0047A
Owner              Caldwell McMillan Jr & Eliza McCartney
Property Address   1886 Crownsville Rd
City               Annapolis                                    County Anne Arundel                           State MD   Zip Code 21401
Client             Melehy & Associates LLC
     As with any method, this technique is not perfect. However, it does do a very good job of giving more weight to the
     most similar comps while at the same time minimizing values near the extremes of the indicated value range.




                                        Form TADD_LT - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                            Subject
                      Case 1:18-cv-03331-MMJM       Photo
                                              Document    Page
                                                        86-7 Filed 12/17/21 Page 22 of 127
Owner              Caldwell McMillan Jr & Eliza McCartney
Property Address   1886 Crownsville Rd
City               Annapolis                                     County Anne Arundel                           State MD         Zip Code 21401
Client             Melehy & Associates LLC
                                                                                                                            Subject Front
                                                                                                         1886 Crownsville Rd
                                                                                                         Sales Price       N/A
                                                                                                         Gross Living Area 2,250
                                                                                                         Total Rooms       7
                                                                                                         Total Bedrooms    4
                                                                                                         Total Bathrooms   2.0
                                                                                                         Location          Twin Hills
                                                                                                         View              Average
                                                                                                         Site
                                                                                                         Quality           Q3
                                                                                                         Age               70




                                                                                                                            Subject Rear




                                                                                                                            Subject Street


                                                                                                                              The subject's street is a
                                                                                                                              larger more traveled road.
                                                                                                                              However, the improvements
                                                                                                                              are located far enough off
                                                                                                                              the traffic street not to be a
                                                                                                                              problem.




                                     Form LPICPIX.DSS_LTR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                      Case 1:18-cv-03331-MMJM Exterior
                                               DocumentPhotos
                                                        86-7 Filed 12/17/21 Page 23 of 127
Owner              Caldwell McMillan Jr & Eliza McCartney
Property Address   1886 Crownsville Rd
City               Annapolis                                    County Anne Arundel                        State MD        Zip Code 21401
Client             Melehy & Associates LLC




                         Screen patio and deck                                                         Outbuilding - smoke house




           Dilapidated outbuilding needs to be demolished                                          Collapsed roof on the out building




        Large amount of chemical containers in out building                                                Shed is personal property
                                     Form PIC6_LT - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                      Case 1:18-cv-03331-MMJM Exterior
                                               DocumentPhotos
                                                        86-7 Filed 12/17/21 Page 24 of 127
Owner              Caldwell McMillan Jr & Eliza McCartney
Property Address   1886 Crownsville Rd
City               Annapolis                                    County Anne Arundel                       State MD        Zip Code 21401
Client             Melehy & Associates LLC




                              Out building                                                                   Alt rear photo




                             Out buildings                                       New well may have to be moved - may be too close to the septic field




            Back of outbuilding - stairs fell off the building                               Well equipment for main house located on out building
                                          Form PIC6_LT - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                      First FloorDocument
                      Case 1:18-cv-03331-MMJM     Photograph
                                                          86-7Addendum
                                                               Filed 12/17/21 Page 25 of 127
Owner              Caldwell McMillan Jr & Eliza McCartney
Property Address   1886 Crownsville Rd
City               Annapolis                                      County Anne Arundel                            State MD          Zip Code 21401
Client             Melehy & Associates LLC




                              LIving room                                                                    Family room with fireplace




                              Dining room                                                                            Old kitchen




                                Kitchen                                                                                  Kitchen
                                          Form PIC6_LT - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                      First FloorDocument
                      Case 1:18-cv-03331-MMJM     Photograph
                                                          86-7Addendum
                                                               Filed 12/17/21 Page 26 of 127
Owner              Caldwell McMillan Jr & Eliza McCartney
Property Address   1886 Crownsville Rd
City               Annapolis                                     County Anne Arundel                         State MD        Zip Code 21401
Client             Melehy & Associates LLC




                     Eating area in the family room                                                              Family room




                                Bedroom                                                                            Hallway




                            Master bedroom                                                                        Old Master bath
                                        Form PIC6_LT - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                      First FloorDocument
                      Case 1:18-cv-03331-MMJM     Photograph
                                                          86-7Addendum
                                                               Filed 12/17/21 Page 27 of 127
Owner              Caldwell McMillan Jr & Eliza McCartney
Property Address   1886 Crownsville Rd
City               Annapolis                                     County Anne Arundel                            State MD          Zip Code 21401
Client             Melehy & Associates LLC




                              Master bath                                                                             Bedroom




                               Bedroom                                                                                Hall bath




                                 bath                                                                           Stairs to the attic level
                                         Form PIC6_LT - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                      Attic FloorDocument
                      Case 1:18-cv-03331-MMJM     Photograph
                                                          86-7Addendum
                                                               Filed 12/17/21 Page 28 of 127
Owner              Caldwell McMillan Jr & Eliza McCartney
Property Address   1886 Crownsville Rd
City               Annapolis                                     County Anne Arundel                            State MD        Zip Code 21401
Client             Melehy & Associates LLC




                                 Attic                                                                                  Attic




                                         Form PIC6_LT - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                    Basement Floor
                      Case 1:18-cv-03331-MMJM      Photograph
                                               Document       Addendum
                                                        86-7 Filed 12/17/21 Page 29 of 127
Owner              Caldwell McMillan Jr & Eliza McCartney
Property Address   1886 Crownsville Rd
City               Annapolis                                     County Anne Arundel                           State MD         Zip Code 21401
Client             Melehy & Associates LLC




               Stairs to the basement level of the home                                                           Laundry room




        Old oil fueled furnace has not worked in eight years                                                        Fuse box




                               Breakers                                                                          Rec room with fireplace
                                          Form PIC6_LT - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                     Basement Floor
                       Case 1:18-cv-03331-MMJM      Photograph
                                                Document       Addendum
                                                         86-7 Filed 12/17/21 Page 30 of 127
Owner               Caldwell McMillan Jr & Eliza McCartney
Property Address    1886 Crownsville Rd
City                Annapolis                                       County Anne Arundel                         State MD      Zip Code 21401
Client              Melehy & Associates LLC




                                  Rec room                                                                RAD heating system damaged




                        Water marks on the ceiling                                                          Fireplace in the Rec room




                   Water damage to the basement walls                                                                   Den
                                         Form PIC6_LT - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                    Basement Floor
                      Case 1:18-cv-03331-MMJM      Photograph
                                               Document       Addendum
                                                        86-7 Filed 12/17/21 Page 31 of 127
Owner              Caldwell McMillan Jr & Eliza McCartney
Property Address   1886 Crownsville Rd
City               Annapolis                                   County Anne Arundel                          State MD         Zip Code 21401
Client             Melehy & Associates LLC




                                 Den                                                                                Bath




                                 Bath                                                                            Rec room




                                 Den                                                                               Kitchen area
                                        Form PIC6_LT - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                    Basement Floor
                      Case 1:18-cv-03331-MMJM      Photograph
                                               Document       Addendum
                                                        86-7 Filed 12/17/21 Page 32 of 127
Owner              Caldwell McMillan Jr & Eliza McCartney
Property Address   1886 Crownsville Rd
City               Annapolis                                    County Anne Arundel                            State MD           Zip Code 21401
Client             Melehy & Associates LLC




                             Kitchen area                                                                              Rec room




                                        Form PIC6_LT - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                       Extra Lot Document
                      Case 1:18-cv-03331-MMJM    Photograph
                                                          86-7Addendum
                                                                Filed 12/17/21 Page 33 of 127
Owner              Caldwell McMillan Jr & Eliza McCartney
Property Address   1886 Crownsville Rd
City               Annapolis                                      County Anne Arundel                         State MD            Zip Code 21401
Client             Melehy & Associates LLC




                             Out building                                                                             Extra Lot




                               Extra Lot                                                                              Extra lot




                          Damaged structure
                                       Form PIC6_LT - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                          Area Map
Case 1:18-cv-03331-MMJM Document 86-7 Filed 12/17/21 Page 34 of 127




            Form SCNLTR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                        Location Map
Case 1:18-cv-03331-MMJM Document 86-7 Filed 12/17/21 Page 35 of 127




            Form SCNLTR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                        Location Map
Case 1:18-cv-03331-MMJM Document 86-7 Filed 12/17/21 Page 36 of 127




            Form SCNLTR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                              Location Map
                      Case 1:18-cv-03331-MMJM Document 86-7 Filed 12/17/21 Page 37 of 127
Owner              Caldwell McMillan Jr & Eliza McCartney
Property Address   1886 Crownsville Rd
City               Annapolis                                    County Anne Arundel                          State MD    Zip Code 21401
Client             Melehy & Associates LLC




                                     Form MAP_LT.NHOOD - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                          Plat Map
Case 1:18-cv-03331-MMJM Document 86-7 Filed 12/17/21 Page 38 of 127




            Form SCNLTR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                          Comparable
                      Case 1:18-cv-03331-MMJM        Photo
                                              Document 86-7 Page
                                                             Filed 12/17/21 Page 39 of 127
Owner              Caldwell McMillan Jr & Eliza McCartney
Property Address   1886 Crownsville Rd
City               Annapolis                                     County Anne Arundel                           State MD      Zip Code 21401
Client             Melehy & Associates LLC
                                                                                                                       Comparable 1
                                                                                                         1780 Crownsville Rd
                                                                                                         Prox. to Subject  0.68 miles N
                                                                                                         Sales Price       422,000
                                                                                                         Gross Living Area 1,734
                                                                                                         Total Rooms
                                                                                                         Total Bedrooms    4
                                                                                                         Total Bathrooms   2
                                                                                                         Location          Crownsville
                                                                                                         View              Average
                                                                                                         Site              1.27 ac
                                                                                                         Quality           Q3
                                                                                                         Age               65




                                                                                                                       Comparable 2
                                                                                                         1339 Generals Hwy
                                                                                                         Prox. to Subject  2.79 miles N
                                                                                                         Sales Price       300,000
                                                                                                         Gross Living Area 1,421
                                                                                                         Total Rooms
                                                                                                         Total Bedrooms    2
                                                                                                         Total Bathrooms   2.0
                                                                                                         Location          Crownsville
                                                                                                         View              Average
                                                                                                         Site              1.20 ac
                                                                                                         Quality           Q3
                                                                                                         Age               57




                                                                                                                       Comparable 3
                                                                                                         2888 Spring Lakes Dr
                                                                                                         Prox. to Subject  2.54 miles SW
                                                                                                         Sales Price       430,000
                                                                                                         Gross Living Area 2,856
                                                                                                         Total Rooms
                                                                                                         Total Bedrooms    4
                                                                                                         Total Bathrooms   2.1
                                                                                                         Location          Spring Lakes
                                                                                                         View              Average
                                                                                                         Site              1.13 ac
                                                                                                         Quality           Q3
                                                                                                         Age               47




                                     Form LPICPIX.DS%_LTR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                          Comparable
                      Case 1:18-cv-03331-MMJM        Photo
                                              Document 86-7 Page
                                                             Filed 12/17/21 Page 40 of 127
Owner              Caldwell McMillan Jr & Eliza McCartney
Property Address   1886 Crownsville Rd
City               Annapolis                                     County Anne Arundel                           State MD     Zip Code 21401
Client             Melehy & Associates LLC
                                                                                                                       Comparable 4
                                                                                                         1730 Underwood Rd
                                                                                                         Prox. to Subject  4.07 miles W
                                                                                                         Sale Price        485,000
                                                                                                         Gross Living Area 1,379
                                                                                                         Total Rooms
                                                                                                         Total Bedrooms    3
                                                                                                         Total Bathrooms   2.0
                                                                                                         Location          Gambrills
                                                                                                         View              Average
                                                                                                         Site              2.00 ac
                                                                                                         Quality           Q3
                                                                                                         Age               55




                                                                                                                       Comparable 5
                                                                                                         1827 Underwood Rd
                                                                                                         Prox. to Subject  4.21 miles W
                                                                                                         Sale Price        505,000
                                                                                                         Gross Living Area 1,176
                                                                                                         Total Rooms
                                                                                                         Total Bedrooms    3
                                                                                                         Total Bathrooms   2.0
                                                                                                         Location          Crofton
                                                                                                         View              Average
                                                                                                         Site              4.51 ac
                                                                                                         Quality           Q3
                                                                                                         Age               48




                                     Form LPICPIX.DS%_LTR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                            Plat 86-7 Filed 12/17/21 Page 41 of 127
Case 1:18-cv-03331-MMJM Document




            Form SCNLTR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                      Case 1:18-cv-03331-MMJM Building
                                               DocumentSketch
                                                        86-7 Filed 12/17/21 Page 42 of 127
Owner              Caldwell McMillan Jr & Eliza McCartney
Property Address   1886 Crownsville Rd
City               Annapolis                                     County Anne Arundel                           State MD   Zip Code 21401
Client             Melehy & Associates LLC




                                       Form SKT.BLDSKI - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
              History of home
Case 1:18-cv-03331-MMJM       values86-7
                           Document  by MarketStats
                                         Filed 12/17/21 Page 43 of 127




            Form SCNLTR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                          Schools
Case 1:18-cv-03331-MMJM Document 86-7 Filed 12/17/21 Page 44 of 127




            Form SCNLTR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                         Well Issues
Case 1:18-cv-03331-MMJM Document 86-7 Filed 12/17/21 Page 45 of 127




            Form SCNLTR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                         Well Issues
Case 1:18-cv-03331-MMJM Document 86-7 Filed 12/17/21 Page 46 of 127




            Form SCNLTR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
           Builder impact Document
Case 1:18-cv-03331-MMJM   fees - Anne
                                   86-7Arundel   County Page 47 of 127
                                         Filed 12/17/21




            Form SCNLTR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                Stephen Rochkind,
Case 1:18-cv-03331-MMJM           SRA -Filed
                         Document 86-7  License
                                             12/17/21 Page 48 of 127




            Form SCNLTR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
Case 1:18-cv-03331-MMJM Document 86-7 Filed 12/17/21 Page 49 of 127




            Form SCNLTR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
Case 1:18-cv-03331-MMJM Document 86-7 Filed 12/17/21 Page 50 of 127




        EXHIBIT
          F2
Case 1:18-cv-03331-MMJM Document 86-7 Filed 12/17/21 Page 51 of 127




                   APPRAISAL OF REAL PROPERTY

                                     LOCATED AT:
                                    1886 Crownsville Rd
                                    Annapolis, MD 21401
                                     Twin Hills Lot 28R-A

                                             FOR:
                                 Melehy & Associates LLC
                               8403 Colesville Rd, Suite 610
                                 Silver Spring, MD 20910

                                           AS OF:
                                           2/17/2020

                                              BY:
                                  Stephen Rochkind, SRA

                                   Area Appraisal Services




            Form GA1_LT - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
        Case 1:18-cv-03331-MMJM Document 86-7 Filed 12/17/21 Page 52 of 127




Area Appraisal Services
7131 Arlington Rd, Suite 455
Bethesda, MD 20814-2986




02/27/2020


Melehy & Associates LLC
8403 Colesville Rd, Suite 610
Silver Spring, MD 20910


Re:    Property:    1886 Crownsville Rd
                    Annapolis, MD 21401
         Owner:     Caldwell McMillan Jr & Eliza McCartney
          File #    20-0047B



In accordance with your request, we have appraised the above referenced property. The report of that appraisal is
attached.

The purpose of this appraisal is to estimate the market value of the property described in this appraisal report, as
improved, in unencumbered fee simple title of ownership.

This report is based on a physical analysis of the site and improvements, a locational analysis of the neighborhood and
city, and an economic analysis of the market for properties such as the subject. The appraisal was developed and the
report was prepared in accordance with the Uniform Standards of Professional Appraisal Practice.

The value conclusions reported are as of the effective date stated in the body of the report and contingent upon the
certification and limiting conditions attached.

It has been a pleasure to assist you. Please do not hesitate to contact me or any of my staff if we can be of additional
service to you.




Sincerely,




Stephen Rochkind, SRA
                              Case 1:18-cv-03331-MMJM Document 86-7 Filed 12/17/21 Page 53 of 127
Owner                   Caldwell McMillan Jr & Eliza McCartney                                                                                                                                              File No. 20-0047B
Property Address        1886 Crownsville Rd
City                    Annapolis                                                                              County Anne Arundel                                                           State MD                      Zip Code 21401
Client                  Melehy & Associates LLC


                                                                                                     TABLE OF CONTENTS

        Cover Page .................................................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         1
        Letter of Transmittal ...................................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         2
        Appraisal Report - Residential - Page 1 ......................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         3
        Appraisal Report - Residential - Page 2 ......................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         4
        Appraisal Report - Residential - Page 3 ......................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         5
        Appraisal Report - Residential - Page 4 ......................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         6
        Appraisal Report - Residential - Page 5 ......................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         7
        Appraisal Report - Residential - Page 6 ......................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         8
        Appraisal Report - Residential - Page 7 ......................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         9
        Appraisal Report - Residential - Page 8 ......................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         10
        Additional Comparables 4-6 .......................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         11
        Certifications & Limiting Conditions - Residential ........................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         12
        Graphs .......................................................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         14
        MRIS Tax Card for the Subject Property ......................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         15
        Written Addendum ......................................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         16
        Subject Photos ...........................................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         21
        Exterior Photos ...........................................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         22
        Exterior Photos ...........................................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         23
        First Floor Photograph Addendum ...............................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         24
        First Floor Photograph Addendum ...............................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         25
        Attic Floor Photograph Addendum ..............................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         26
        Basement Floor Photograph Addendum ......................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         27
        Basement Floor Photograph Addendum ......................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         28
        Basement Floor Photograph Addendum ......................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         29
        Basement Floor Photograph Addendum ......................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         30
        Area Map ....................................................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         31
        Location Map .............................................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         32
        Location Map .............................................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         33
        Location Map .............................................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         34
        Plat Map .....................................................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         35
        Comparable Photos 1-3 .............................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         36
        Comparable Photos 4-6 ..............................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         37
        Plat .............................................................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         38
        Building Sketch ...........................................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         39
        History of home values by MarketStats .......................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         40
        Schools ......................................................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         41
        Well Issues .................................................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         42
        Well Issues .................................................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         43
        Builder impact fees - Anne Arundel County .................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         44
        Stephen Rochkind, SRA - License ..............................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         45
        Qualifications of Appraiser - Stephen Rochkind, SRA ..................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         46




                                                                    Form TOCNP_LT - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                                                                         Area Appraisal Services, Inc.

                            Case 1:18-cv-03331-MMJM
                                    Client File #:  Document 86-7Appraisal
                                                                     Filed File 12/17/21
                                                                                #:        Page 54 of 127
                                                                                       20-0047B



                                                                            Appraisal Report • Residential
                                                Appraisal Company:  Area Appraisal Services
                                                Address:  7131 Arlington Rd,Suite 455, Bethesda, MD 20814
              Form 100.05*                      Phone: (301) 215-7567        Fax: (301) 215-7568      Website: www.AreaDC.com
 Appraiser:   Stephen Rochkind, SRA                                                                         Co-Appraiser:
 AI Membership (if any):  SRA     MAI                             SRPA         AI-GRS           AI-RRS      AI Membership (if any):                  SRA         MAI         SRPA          AI-GRS          AI-RRS
 AI Status (if any):            Candidate for Designation                     Practicing Affiliate          AI Status (if any):             Candidate for Designation                     Practicing Affiliate
Other Professional Affiliation:               Appraisal Institute                                           Other Professional Affiliation:
 E-mail:        support@areadc.com                                                                          E-mail:
 Client:        Melehy & Associates LLC                                                                     Contact:        Suvita Melehy
 Address:       8403 Colesville Rd, Suite 610, Silver Spring, MD 20910
 Phone:         (301) 587-6364              Fax:                                                            E-mail:         smelehy@melehylaw.com;mcmillanmcca@nku.edu
 SUBJECT PROPERTY IDENTIFICATION
 Address:           1886 Crownsville Rd
 City:   Annapolis                                                           County:        Anne Arundel                                         State:      MD              ZIP:    21401
 Legal Description:            Twin Hills Lot 28R-A


 Tax Parcel #:      020285290058962                                                                                     RE Taxes:         5,612                              Tax Year:        2019
 Use of the Real Estate As of the Date of Value:                                 Residential - Single Family Detached
 Use of the Real Estate Reflected in the Appraisal:                              Residential - Single Family Detached
 Opinion of highest and best use (if required):                                  Residential - Single Family Detached
 SUBJECT PROPERTY HISTORY
 Owner of Record:       Caldwell McMillan Jr & Eliza McCartney
 Description and analysis of sales within 3 years (minimum) prior to effective date of value:                                         N/A




 Description and analysis of agreements of sale (contracts), listings, and options:                                             N/A




 RECONCILIATIONS AND CONCLUSIONS
 Indication of Value by Sales Comparison Approach                                                            $     323,000
 Indication of Value by Cost Approach                                                                        $     N/A
 Indication of Value by Income Approach                                                                      $     N/A
 Final Reconciliation of the Methods and Approaches to Value:                                   Primary emphasis has been placed upon the Sales Comparison analysis as a result of the reliability of data. The
 Cost Approach does not offer reasonable substantiation. Due to insufficient market data to establish a reliable GRM, the Income Approach was not utilized.


 All comparable sales are located within close proximity to the Subject, and have settled within the past 17 months. The comparable sales were considered to be similar to the subject in terms of construction,
 appeal and "effective" age.


 All comparable sales were considered when coming to a final estimate of value. However, most reliance was placed on the weighted average of the comparable sales. See addendum showing calculations. The
 comparable sales closely bracket the Subject's indicated market value. In addition to the sales utilized in the report, the appraiser researched and analyzed other settled sales in the Subject's neighborhood.




 Opinion of Value as of:                            2/17/2020                                                $ 323,000
 Exposure Time:            1 to 3 months
           The above opinion is subject to:                    Hypothetical Conditions               and/or            Extraordinary Assumptions                cited on the following page.
*NOTICE: The Appraisal Institute publishes this form for use by appraisers where the appraiser deems use of the form appropriate. Depending on the assignment, the
appraiser may need to provide additional data, analysis and work product not called for in this form. The Appraisal Institute makes no representations, warranties or
guarantees as to, and assumes no responsibility for, the data, analysis or work product, or third party certifications, verifications, data specifications, scores, indexes,
or valuation tools, used or provided by the individual appraiser(s) or others in the specific contents of the AI Reports®. AI Reports® AI-100.05 Appraisal Report -
Residential© Appraisal Institute 2017, All Rights Reserved                                                                                                         June 2017

                                                         Form AI1005B - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
 Client:               Case 1:18-cv-03331-MMJM
                         Melehy & Associates LLC Document 86-7 Filed 12/17/21
                                                                      Client File #: Page 55 of 127
 Subject Property:          1886 Crownsville Rd, Annapolis, MD 21401                                               Appraisal File #:            20-0047B

 ASSIGNMENT PARAMETERS
 Intended User(s):        Melehy & Associates LLC and State of Maryland Court System.
 Intended Use:            Establish a market value for a court case. This appraisal will be used as a litigation support document.
 This report is not intended by the appraiser for any other use or by any other user.

 Type of Value:        Market Value                                                     Effective Date of Value:          2/17/2020
 Interest Appraised:         Fee Simple            Leasehold           Other
 Hypothetical Conditions: (A hypothetical condition is that which is contrary to what exists, but is asserted by the appraiser for the purpose
 of analysis. Any hypothetical condition may affect the assignment results.)




 Extraordinary Assumptions: (An extraordinary assumption is directly related to a specific assignment and presumes uncertain information
 to be factual. If found to be false this assumption could alter the appraiser’s opinions or conclusions. Any extraordinary assumption may affect
 the assignment results.)     The subject property is a grandfathered use, which would allow two lots on the 4.27 acres of land. If this is not
 true the value would be different. This appraisal is only valuing the single family detached home not the separate buildable parcel at 28R-B.



 This is an Appraisal Report in accordance with Standard Rule 2-2(a) of the Uniform Standard of Professional Appraisal Practice (USPAP).
 SCOPE OF WORK
 Definition: The scope of work is the type and extent of research and analysis in an assignment. Scope of work includes the extent to which the
 property is identified, the extent to which tangible property is inspected, the type and extent of data research, and the type and extent of analysis
 applied to arrive at credible opinions or conclusions. The specific scope of work for this assignment is identified below and throughout this report.
 Scope of Subject Property Inspection/Data Sources Utilized                                Approaches to Value Developed
 Appraiser                                                                                 Cost Approach:
 Property Inspection:          Yes        No                                                   Is necessary for credible results and is developed in this analysis
 Date of Inspection:  2/17/2020                                                                Is not necessary for credible results; not developed in this analysis
                                                                                               Is not necessary for credible results but is developed in this analysis
 Describe Scope of Property Inspection, Source of Area Calculations
 and Data Sources Consulted:      See attached scope of work
                                                                                           Sales Comparison Approach:
                                                                                               Is necessary for credible results and is developed in this analysis
                                                                                               Is not necessary for credible results; not developed in this analysis
 Co-Appraiser                                                                                  Is not necessary for credible results but is developed in this analysis
 Property Inspection:          Yes        No
 Date of Inspection:
 Describe Scope of Property Inspection, Source of Area Calculations
                                                                                           Income Approach:
 and Data Sources Consulted:                                                                   Is necessary for credible results and is developed in this analysis
                                                                                               Is not necessary for credible results; not developed in this analysis
                                                                                               Is not necessary for credible results but is developed in this analysis



 Additional Scope of Work Comments:

 See attached addendum showing additional scope of work comments.




 Significant Real Property Appraisal Assistance:               None         Disclose Name(s) and contribution:




*NOTICE: The Appraisal Institute publishes this form for use by appraisers where the appraiser deems use of the form appropriate. Depending on the assignment, the
appraiser may need to provide additional data, analysis and work product not called for in this form. The Appraisal Institute makes no representations, warranties or
guarantees as to, and assumes no responsibility for, the data, analysis or work product, or third party certifications, verifications, data specifications, scores, indexes,
or valuation tools, used or provided by the individual appraiser(s) or others in the specific contents of the AI Reports®. AI Reports® AI-100.05 Appraisal Report -
Residential© Appraisal Institute 2017, All Rights Reserved                                                                                                         June 2017
                                               Form AI1005B - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
 Client:                Case 1:18-cv-03331-MMJM
                          Melehy & Associates LLC Document 86-7 Filed 12/17/21
                                                                       Client File #: Page 56 of 127
 Subject Property:           1886 Crownsville Rd, Annapolis, MD 21401                                              Appraisal File #:            20-0047B

 MARKET AREA ANALYSIS
 Location          Built Up                                  Growth                      Supply & Demand              Value Trend              Typical Marketing Time
    Urban                          Under 25%                     Rapid                        Shortage                   Increasing               Under 3 Months
    Suburban                       25-75%                        Stable                       In Balance                 Stable                   3-6 Months
    Rural                          Over 75%                      Slow                         Over Supply                Decreasing               Over 6 Months
             Neighborhood Single Family Profile                             Neighborhood Land Use                     Neighborhood Name:              Twin Hills
        Price                                Age
     136,000               Low                0              1 Family            85 % Commercial               5 % PUD       Condo             HOA: $              /
    4,100,000              High              325             Condo                  % Vacant                  10 % Amenities: N/A
     485,000           Predominant           36              Multifamily            %                            %

 Market area description and characteristics:                 See attached addendum




 SITE ANALYSIS
 Dimensions:           No Survey was provided to appraiser                                Area:      113,256 sf
 View:        Average                                                                     Shape:      Irregular
 Drainage:         Appears Adeq                                                           Utility:   Average
 Site Similarity/Conformity To Neighborhood                                               Zoning/Deed Restriction
 Size:                                       View:                                        Zoning: RA - Residential                     Covenants, Condition & Restrictions
    Smaller than Typical                        Favorable                                 Agricultural                                    Yes      No        Unknown
    Typical                                        Typical                                   Legal        No zoning                    Documents Reviewed
    Larger than Typical                            Less than Favorable                       Legal, non-conforming                        Yes     No
                                                                                             Illegal                                   Ground Rent      $               /
 Utilities                                                                                Off Site Improvements
 Electric                 Public        Other                                             Street               Public        Private       Asphalt
 Gas                      Public        Other       Oil Tank                              Alley                Public        Private       None
 Water                    Public        Other       Well                                  Sidewalk             Public        Private       None
 Sewer                    Public        Other       Septic                                Street Lights        Public        Private       Electric
 Site description and characteristics:   No zoning letter of subject's confirmatory statutes has been provided for our review nor are we
 aware of the existence of same. The appraiser takes no responsibility of issues relating to expertise in this area. See attached photo
 addendum showing site characteristics. The subject site has overhead electric, which is typical of the area. The neighbor has a drive-way
 easement over the subject's driveway. The pipes from the well to the house run through the dilapidated old structure that may have to be
 torn down. There are three structures on the subject's site which have reached the end of their economic life. They will have to be
 demolished at a substantial cost. My estimate to demolish and remove the structures is $30,000. I estimate another $7,500 to $15,000 to fix
 the well issue and remove the underground oil tank.

 HIGHEST AND BEST USE ANALYSIS
      Present Use         Proposed Use         Other
 Summary of highest and best use analysis:           The subject site is in a residential development surrounded by other residences. There is
 little doubt that the highest and best use is for a residential structure similar to those on similar surrounding lots. A single-family residential
 use in conformance with the zoning of the site and is believed to be the only likely use.




*NOTICE: The Appraisal Institute publishes this form for use by appraisers where the appraiser deems use of the form appropriate. Depending on the assignment, the
appraiser may need to provide additional data, analysis and work product not called for in this form. The Appraisal Institute makes no representations, warranties or
guarantees as to, and assumes no responsibility for, the data, analysis or work product, or third party certifications, verifications, data specifications, scores, indexes,
or valuation tools, used or provided by the individual appraiser(s) or others in the specific contents of the AI Reports®. AI Reports® AI-100.05 Appraisal Report -
Residential© Appraisal Institute 2017, All Rights Reserved                                                                                                         June 2017
                                                  Form AI1005B - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
 Client:               Case 1:18-cv-03331-MMJM
                         Melehy & Associates LLC Document 86-7 Filed 12/17/21
                                                                      Client File #: Page 57 of 127
 Subject Property:            1886 Crownsville Rd, Annapolis, MD 21401                                                     Appraisal File #:               20-0047B

 IMPROVEMENTS ANALYSIS
 General                      Design: Rambler                  No. of Units: 1             No. of Stories: 1           Actual Age: 70                      Effective Age: 60-70
    Existing         Under Construction   Proposed                Attached                    Detached                    Manufactured                         Modular
 Other:
 Exterior Elements             Roofing:      Comp Shingle                         Siding:        Brick                                   Windows:          D.Hung,Casement
    Patio Screen Patio                    Deck Wood                        Porch                                   Pool                                     Fence
 Other:
 Interior Elements             Flooring:       Hrdw,Vin                           Walls:         Drywall                                    Fireplace #        3
 Kitchen:      Refrigerator         Range         Oven       Fan/Hood          Microwave             Dishwasher        Countertops:         Laminate
 Other:
 Foundation                       Crawl Space                                        Slab Partial                                           Basement          Partial
 Other:
 Attic                            None          Scuttle                              Drop Stair                        Stairway                                Finished
 Mechanicals                   HVAC: RAD - Not working                        Fuel:         Oil                                          Air Conditioning: Unit
 Car Storage                     Driveway 3                             Garage                                   Carport                                Finished
 Other Elements         Since this is an existing property, the appraiser was unable to verify the insulation and energy features and
 assumes that they are typical for the area.



 Above Grade Gross Living Area (GLA)
                         Living       Dining      Kitchen     Den        Family         Rec.          Bedrms     # Baths       Utility             Other                  Area Sq. Ft.
 Level 1                   1              1         1                      1                               4       2                                                                 2,250
 Level 2

 Finished area above grade contains:             Bedroom(s): 4                                  Bath(s):   2.0                            GLA:      2,250
 Summarize Above Grade Improvements:                See attached description in the photo addendum.




 Below Grade Area or Other Area
                         Living       Dining      Kitchen     Den        Family         Rec.          Bedrms     # Baths       Utility           % Finished               Area Sq. Ft.
 Below Grade                                        1          3                            2                      1             X                   90                              1,857
 Other Area

 Summarize below grade and/or other area improvements:                    See attached description in the photo addendum.




 Discuss physical depreciation and functional or external obsolescence: The subject was in overall fair condition at date of inspection. The
 home is in need of renovation. The furnace is not working. The windows were replaced in the 1980s. The roof was replaced about 15 years
 ago. There are several dilapidated outbuilding that will need to be demolished. I estimate the cost to be around $30,000 to remove these
 structures.



 Discuss style, quality, condition, size, and appeal of improvements including conformity to market area:




*NOTICE: The Appraisal Institute publishes this form for use by appraisers where the appraiser deems use of the form appropriate. Depending on the assignment, the
appraiser may need to provide additional data, analysis and work product not called for in this form. The Appraisal Institute makes no representations, warranties or
guarantees as to, and assumes no responsibility for, the data, analysis or work product, or third party certifications, verifications, data specifications, scores, indexes,
or valuation tools, used or provided by the individual appraiser(s) or others in the specific contents of the AI Reports®. AI Reports® AI-100.05 Appraisal Report -
Residential© Appraisal Institute 2017, All Rights Reserved                                                                                                         June 2017
                                                 Form AI1005B - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
 Client:                Case 1:18-cv-03331-MMJM
                          Melehy & Associates LLC Document 86-7 Filed 12/17/21
                                                                       Client File #: Page 58 of 127
 Subject Property:          1886 Crownsville Rd, Annapolis, MD 21401                                               Appraisal File #:         20-0047B

 SITE VALUATION
 Site Valuation Methodology
    Sales Comparison Approach: A set of procedures in which a value indication is derived by comparing the property being appraised to similar properties
    that have been sold recently, then applying appropriate units of comparison and making adjustments to the sale prices of the comparables based on the
    elements of comparison. The sales comparison approach may be used to value improved properties, vacant land, or land being considered as though vacant; it
    is the most common and preferred method of land valuation when an adequate supply of comparable sales are available.

    Market Extraction: A method of estimating land value in which the depreciated cost of the improvements on the improved property is estimated and
    deducted from the total sale price to arrive at an estimated sale price for the land; most effective when the improvements contribute little to the total sale price
    of the property.

    Alternative Method: (Describe methodology and rationale)




 Site Valuation
             ITEM                SUBJECT                       COMPARISON 1                  COMPARISON 2                  COMPARISON 3
 Address       1886 Crownsville Rd                     1888 Crownsville Rd          932 Chesterfield Rd           LOt PT2H Davidsonville Rd
               Annapolis, MD 21401                     Annapolis, MD 21401          Annapolis, MD 21401           Gambrills, MD 21054
 Proximity to Subject                                  Next door                    Alt market area               Alt market area
 Data Source/                                          Seller                       BrightMLS#1004619246          BrightMLS#1000131519
 Verification                                          BrightMLS Tax Cards          BrightMLS Tax Cards           BrightMLS Tax Cards
 Sales Price                      $                N/A                  $   157,000                   $   170,000                  $    215,000
 Price /                          $                                     $ 64,344.26                   $ 45,212.77                  $ 107,500.00
 Sale Date                        N/A                    6/15/2017                             10/23/2018                              9/27/2018
 Location                         Twin Hills             Twin Hills                            Crownsville                             Davidsonville                -50,000
 Site Size                        2.6 ac                 2.44 ac                               3.76 ac                                 2.00 ac
 Site View                        Average                Average                               Average                                 Average
 Site Improvements
Water                             Well                   Well                               Well                                    Well
Sewer                             Septic                 Septic                             Septic                                  Septic
Nat Gas                           None                   None                               None                                    None
Sub-dividable                     Yes - 2 lots           No                                 No                                      No
Improved                          Vacant                 Vacant                             Old home                                Vacant
 Net Adjustment                                                 +       –     $           0        +           –      $           0        +           –     $      -50,000
                                                         Net Adj.         0%                Net Adj.               0%               Net Adj.         23.3 %
 Indicated Value                                         Gross Adj.       0%$       157,000 Gross Adj.             0%$      170,000 Gross Adj.
                                                                                                                                  165,000            23.3 % $
 Prior Transfer N/A                        N/A                          N/A                              N/A
 History         N/A                       N/A                          N/A                              N/A
 Site Valuation Comments:  Most reliance was placed on comparable sale one, which is located very close to the subject property. It sold
 in 2017, which was somewhat a similar market.

 Builder impact fee run high in Anne Arundel County Maryland. I estimate that builder impact fees we be approx. $30,000 to $35,000 per
 vacant site. See addendum showing what builder impact fees pay for such as water, sewer, schools, police and fire. Drilling a well and
 installing a septic system are also expensive.


 Site Valuation Reconciliation:          Most reliance was placed on comparable sale one, which is the lost that sold next door back in 2017.




 Opinion of Site Value                                                                   $ 157,000
*NOTICE: The Appraisal Institute publishes this form for use by appraisers where the appraiser deems use of the form appropriate. Depending on the assignment, the
appraiser may need to provide additional data, analysis and work product not called for in this form. The Appraisal Institute makes no representations, warranties or
guarantees as to, and assumes no responsibility for, the data, analysis or work product, or third party certifications, verifications, data specifications, scores, indexes,
or valuation tools, used or provided by the individual appraiser(s) or others in the specific contents of the AI Reports®. AI Reports® AI-100.05 Appraisal Report -
Residential© Appraisal Institute 2017, All Rights Reserved                                                                                                         June 2017
                                                 Form AI1005B - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
 Client:               Case 1:18-cv-03331-MMJM
                         Melehy & Associates LLC Document 86-7 Filed 12/17/21
                                                                      Client File #: Page 59 of 127
 Subject Property:          1886 Crownsville Rd, Annapolis, MD 21401                                              Appraisal File #:          20-0047B

 SALES COMPARISON APPROACH
         ITEM           SUBJECT                                COMPARISON 1                  COMPARISON 2                  COMPARISON 3
 Address       1886 Crownsville Rd                    1780 Crownsville Rd           1339 Generals Hwy             2888 Spring Lakes Dr
               Annapolis, MD 21401                    Annapolis, MD 21401           Crownsville, MD 21032         Davidsonville, MD 21035
 Proximity to Subject                                 0.68 miles N                  2.79 miles N                  2.54 miles SW
 Data Source/                                         Brightmls#mdaa424082          Brightmls#mdaa414990          Brightmls#mdaa375812
 Verification                                         Bright MLS/ Tax Records/Agent Bright MLS/ Tax Records       Bright MLS/ Tax Records
 Original List Price             $                N/A                   $   450,000                   $   100,000                   $   450,000
 Final List Price                $                N/A                   $   450,000                   $   100,000                   $   450,000
 Sale Price                      $                N/A                   $   422,000                   $   300,000                   $   430,000
 Sale Price % of Original List                      %                        93.8 %                       300.0 %                        95.6 %
 Sale Price % of Final List                         %                        93.8 %                       300.0 %                        95.6 %
 Closing Date                N/A                      Pending Sale                  11/26/19                      02/14/20
 Days On Market              N/A                      4                             45                            33
 Price/Gross Living Area     $                        $          243.37             $          211.12             $          150.56
                                 DESCRIPTION          DESCRIPTION    +(-) Adjustment     DESCRIPTION     +(-) Adjustment     DESCRIPTION    +(-) Adjustment
 Financing Type              N/A                  Pending                            Auction                             Arms Length
 Concessions                 N/A                  Sale                               Cash/$0                             Cntvl/$0
 Contract Date               N/A                  02/11/2020                         11/14/2019                          12/16/2019
 Location                    Twin Hills           Crownsville                        Crownsville                         Spring Lakes
 Site Size                   2.6 ac               1.27 ac                            1.20 ac                             1.13 ac
 Site Views/Appeal           Average              Average                            Average                             Average
 Design and Appeal           Rambler              Cape Cod                           Rambler                             Bi-Level
 Quality of Construction     Q3                   Q3                                 Q3                                  Q3
 Age                         70                   65                                 57                                  47
 Condition                   C5                   C4                      -100,000 C5                                    C4                      -100,000
 Above Grade Bedrooms        Bedrooms        4    Bedrooms      4                    Bedrooms       2                    Bedrooms      4
 Above Grade Baths           Baths          2.0 Baths           2                    Baths         2.0                   Baths        2.1           -5,000
 Gross Living Area                  2,250 Sq.Ft.        1,734 Sq.Ft.       +25,800         1,421 Sq.Ft.        +41,500         2,856 Sq.Ft.       -30,300
 Below Grade Area            Partial Basement Partial Basement                       Full Basement                       None                     +20,000
 Below Grade Finish          Finished             Unfinished               +15,000 Finished                              None                     +20,000
 Other Area                  None                 None                               None                                None
 None                        None                 None                               None                                None
 Functional Utility          Average              Average                            Average                             Average
 Heating/Cooling             RAD/Units            FWA/Units                       0 FWA/CAC                    -15,000 FWA/CAC                    -15,000
 Car Storage                 None                 None                               Gar: 1/Cpt: 1             -20,000 None
 Fireplace                   3 F/P                0 F/P                    +12,000 1 F/P                        +8,000 2 F/P                       +4,000
 Amenities                   Fence, Scr Patio Patio                               0 Patio                             0 Patio                            0
 KItchen                     Inferior Kit         Standard Kit             -20,000 Standard Kit                -20,000 Standard Kit               -20,000
 Net Adjustment (total)                                  +      –    $     -67,200          +       –    $       -5,500         +      –    $ -126,300
                                                  Net Adj.    15.9 %                 Net Adj.      1.8 %                 Net Adj.    29.4 %
 Adjusted Sale Price                              Gross Adj. 40.9 % $      354,800 Gross Adj. 34.8 % $         294,500 Gross Adj. 49.8 % $        303,700
 Prior Transfer N/A                               N/A                                N/A                                 N/A
 History          N/A                             N/A                                N/A                                 N/A
 Comments and reconciliation of the sales comparison approach:          See attached addenda.




 Indication of Value by Sales Comparison Approach                                        $ 323,000
*NOTICE: The Appraisal Institute publishes this form for use by appraisers where the appraiser deems use of the form appropriate. Depending on the assignment, the
appraiser may need to provide additional data, analysis and work product not called for in this form. The Appraisal Institute makes no representations, warranties or
guarantees as to, and assumes no responsibility for, the data, analysis or work product, or third party certifications, verifications, data specifications, scores, indexes,
or valuation tools, used or provided by the individual appraiser(s) or others in the specific contents of the AI Reports®. AI Reports® AI-100.05 Appraisal Report -
Residential© Appraisal Institute 2017, All Rights Reserved                                                                                                         June 2017
                                               Form AI1005B - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                        ADDITIONAL
                       Case 1:18-cv-03331-MMJM     COMPARABLE
                                                Document          SALES
                                                         86-7 Filed 12/17/21 Page 60 of 127
 Client:                    Melehy & Associates LLC                                                               Client File #:
 Subject Property:          1886 Crownsville Rd, Annapolis, MD 21401                                              Appraisal File #:          20-0047B

 SALES COMPARISON APPROACH
        ITEM           SUBJECT                                COMPARISON 4                            COMPARISON 5                           COMPARISON 6
 Address       1886 Crownsville Rd                1730 Underwood Rd                  1827 Underwood Rd
               Annapolis, MD 21401                Gambrills, MD 21054                Gambrills, MD 21054
 Proximity to Subject                             4.07 miles W                       4.21 miles W
 Data Source/                                     Brightmls#1002210944               Brightmls#mdaa402806
 Verification                                     Bright MLS/ Tax Records            Bright MLS/ Tax Records
 Original List Price           $             N/A                     $     485,000                      $     499,900                      $
 Final List Price              $             N/A                     $     485,000                      $     524,900                      $
 Sale Price                    $             N/A                     $     485,000                      $     505,000                      $
 Sale Price % of Original List                 %                           100.0 %                            101.0 %                                   %
 Sale Price % of Final List                    %                           100.0 %                              96.2 %                                  %
 Closing Date                  N/A                09/21/18                           08/30/19
 Days On Market                N/A                12                                 37
 Price/Gross Living Area       $                  $          351.70                  $          429.42                  $
                                  DESCRIPTION        DESCRIPTION     +(-) Adjustment    DESCRIPTION     +(-) Adjustment    DESCRIPTION     +(-) Adjustment
 Financing Type                N/A                Arms Length                        Arms Length
 Concessions                   N/A                VA/$9,700                  -9,700 Cntvl/$5,000               +5,000
 Contract Date                 N/A                08/21/2018                         07/31/2019
 Location                      Twin Hills         Gambrills                          Crofton
 Site Size                     2.6 ac             2.00 ac                            4.51 ac                  -10,000
 Site Views/Appeal             Average            Average                            Average
 Design and Appeal             Rambler            Rambler                            Raised Rambler
 Quality of Construction       Q3                 Q3                                 Q3
 Age                           70                 55                                 48
 Condition                     C5                 C3                      -120,000 C3                        -120,000
 Above Grade Bedrooms          Bedrooms     4     Bedrooms     3                     Bedrooms     3                     Bedrooms
 Above Grade Baths             Baths       2.0 Baths          2.0                    Baths       2.0                    Baths
 Gross Living Area                   2,250 Sq.Ft.       1,379 Sq.Ft.       +43,600         1,176 Sq.Ft.       +53,700               Sq.Ft.
 Below Grade Area              Partial Basement Full Basement                        Full Basement
 Below Grade Finish            Finished           Finished                           Finished
 Other Living Area             None               None                               None
 None                           None                   None                                 None
 Functional Utility             Average                Average                              Average
 Heating/Cooling                RAD/Units              RAD/CAC                      -15,000 RAD/CAC                        -15,000
 Car Storage                    None                   None                                 Gar: 4                         -60,000
 Fireplace                      3 F/P                  1 F/P                         +8,000 1 F/P                           +8,000
 Amenities                      Fence, Scr Patio       Deck,Pool                    -15,000 Deck                                 0
 KItchen                        Inferior Kit           Modern Kit                   -40,000 Modern Kit                     -40,000
 Net Adjustment (total)                                       +     –    $         -148,100        +    –     $           -178,300        +            –     $
                                                       Net Adj.   30.5 %                    Net Adj.   35.3 %                      Net Adj.                %
 Adjusted Sale Price                                   Gross Adj. 51.8 % $          336,900 Gross Adj. 61.7 % $            326,700 Gross Adj.              %$
 Prior Transfer N/A                                    N/A                                  N/A
 History        N/A                                    N/A                                  N/A
 Comments:

 These sales are being provided as a supporting indicator of value. See attached addendum.




*NOTICE: The Appraisal Institute publishes this form for use by appraisers where the appraiser deems use of the form appropriate. Depending on the assignment, the
appraiser may need to provide additional data, analysis and work product not called for in this form. The Appraisal Institute makes no representations, warranties or
guarantees as to, and assumes no responsibility for, the data, analysis or work product, or third party certifications, verifications, data specifications, scores, indexes,
or valuation tools, used or provided by the individual appraiser(s) or others in the specific contents of the AI Reports®. AI Reports® AI-100.05 Appraisal Report -
Residential© Appraisal Institute 2017, All Rights Reserved                                                                                                         June 2017
                                            Form AI1005B.(AC) - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                         Case 1:18-cv-03331-MMJM Document 86-7 Filed 12/17/21 Page 61 of 127
 Client:                       Melehy & Associates LLC                                                                      Client File #:
 Subject Property:             1886 Crownsville Rd, Annapolis, MD 21401                                                     Appraisal File #:             20-0047B

 STATEMENT OF ASSUMPTIONS AND LIMITING CONDITIONS
 This appraisal is subject to the following assumptions and limiting conditions:
     This report is prepared using forms developed and copyrighted by the Appraisal Institute. However, the content, analyses, and
     opinions set forth in this report are the sole product of the appraiser. The Appraisal Institute is not liable for any of the content,
     analyses, or opinions set forth herein.
     No responsibility is assumed for matters legal in character or nature. No opinion is rendered as to title, which is assumed to be
     good and marketable. All existing liens, encumbrances, and assessments have been disregarded, unless otherwise noted, and
     the property is appraised as though free and clear, having responsible ownership and competent management.
     I have examined the property described herein exclusively for the purposes of identification and description of the real property.
     The objective of our data collection is to develop an opinion of the highest and best use of the subject property and make
     meaningful comparisons in the valuation of the property. The appraiser’s observations and reporting of the subject
     improvements are for the appraisal process and valuation purposes only and should not be considered as a warranty of any
     component of the property. This appraisal assumes (unless otherwise specifically stated) that the subject is structurally sound
     and all components are in working condition.
     I will not be required to give testimony or appear in court because of having made an appraisal of the property in question,
     unless specific arrangements to do so have been made in advance, or as otherwise required by law.
     I have noted in this appraisal report any significant adverse conditions (such as needed repairs, depreciation, the presence of
     hazardous wastes, toxic substances, etc.) discovered during the data collection process in performing the appraisal. Unless
     otherwise stated in this appraisal report, we have no knowledge of any hidden or unapparent physical deficiencies or adverse
     conditions of the property (such as, but not limited to, needed repairs, deterioration, the presence of hazardous wastes, toxic
     substances, adverse environmental conditions, etc.) that would make the property less valuable, and have assumed that there
     are no such conditions and make no guarantees or warranties, express or implied. We will not be responsible for any such
     conditions that do exist or for any engineering or testing that might be required to discover whether such conditions exist.
     Because I am not an expert in the field of environmental hazards, this appraisal report must not be considered as an
     environmental assessment of the property. I obtained the information, estimates, and opinions furnished by other parties and
     expressed in this appraisal report from reliable public and/or private sources that I believe to be true and correct.
     I will not disclose the contents of this appraisal report except as provided for in the Uniform Standards of Professional Appraisal
     Practice, and/or applicable federal, state or local laws.
     The Client is the party or parties who engage an appraiser (by employment or contract) in a specific assignment. A party
     receiving a copy of this report from the client does not, as a consequence, become a party to the appraiser-client relationship.
     Any person who receives a copy of this appraisal report as a consequence of disclosure requirements that apply to an
     appraiser’s client, does not become an intended user of this report unless the client specifically identified them at the time of the
     assignment. The appraiser's written consent and approval must be obtained before this appraisal report can be conveyed by
     anyone to the public through advertising, public relations, news, sales, or other media.
     A true and complete copy of this report contains 46 pages including exhibits which are considered an integral part of the
     report. The appraisal report may not be properly understood without access to the entire report.
     If this valuation conclusion is subject to satisfactory completion, repairs, or alterations, it is assumed that the improvements will
     be completed competently and without significant deviation.




 VALUE DEFINITION
      Market Value Definition (below)                                                           Alternate Value Definition (attached)
  MARKET VALUE is defined as the most probable price which a property should bring in a competitive and open market under all
  conditions requisite to a fair sale, the buyer and seller each acting prudently and knowledgeably, and assuming the price is not
  affected by undue stimulus. Implicit in this definition is the consummation of a sale as of a specified date and the passing of title
  from seller to buyer under conditions whereby:
 1. buyer and seller are typically motivated;
 2. both parties are well informed or well advised and acting in what they consider their own best interests;
 3. a reasonable time is allowed for exposure in the open market;
 4. payment is made in terms of cash in U.S. dollars or in terms of financial arrangements comparable thereto; and
 5. the price represents the normal consideration for the property sold unaffected by special or creative financing or sales
    concessions granted by anyone associated with the sale.
                                                                          Source: The Dictionary of Real Estate Appraisal, 4th ed., Appraisal Institute
* NOTICE: The Appraisal Institute publishes this form for use by appraisers where the appraiser deems use of the form appropriate. Depending on the assignment, the appraiser may need
to provide additional data, analysis and work product not called for in this form. The Appraisal Institute plays no role in completing the form and disclaims any responsibility for the data,
analysis or any other work product provided by the individual appraiser(s).
AI Reports® AI-900.03 Assumptions and Limiting Conditions/Certification                        © Appraisal Institute 2008, All Rights Reserved                                  December 2008
                                                    Form AI9003 - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                         Case 1:18-cv-03331-MMJM Document 86-7 Filed 12/17/21 Page 62 of 127
 Client:                       Melehy & Associates LLC                                                                      Client File #:
 Subject Property:             1886 Crownsville Rd, Annapolis, MD 21401                                                     Appraisal File #:             20-0047B

 APPRAISER CERTIFICATION
 I certify that, to the best of my knowledge and belief:
      The statements of fact contained in this report are true and correct.
      The reported analysis, opinions, and conclusions are limited only by the reported assumptions and limiting conditions, and are
      my personal, unbiased professional analysis, opinions, and conclusions.
      I have no present (unless specified below) or prospective interest in the property that is the subject of this report, and I have no
      (unless specified below) personal interest with respect to the parties involved.
      I have no bias with respect to any property that is the subject of this report or to the parties involved with this assignment.
      My engagement in this assignment was not contingent upon the developing or reporting predetermined results.
      My compensation for completing this assignment is not contingent upon the development or reporting of a predetermined value
      or direction in value that favors the cause of the client, the amount of the value opinion, the attainment of a stipulated result, or
      the occurrence of a subsequent event directly related to the use of this appraisal.
      My analysis, opinions, and conclusions were developed, and this report has been prepared, in conformity with the Uniform
      Standards of Professional Appraisal Practice.
      Individuals who have provided significant real property appraisal assistance are named below. The specific tasks performed by
      those named are outlined in the Scope of Work section of this report.
           None               Name(s)
      As previously identified in the Scope Of Work section of this report, the signer(s) of this report certify to the inspection of the
      property that is the subject of this report as follows:
      Property inspected by Appraiser                              Yes          No
      Property inspected by Co-Appraiser                           Yes          No




 ADDITIONAL CERTIFICATION FOR APPRAISAL INSTITUTE MEMBERS
 Appraisal Institute Member Certify:
      The reported analyses, opinions, and conclusions were developed, and this report has been prepared, in conformity with the
      requirements of the Code of Professional Ethics & Standards of Professional Appraisal Practice of the Appraisal Institute, which
      include the Uniform Standards of Professional Appraisal Practice.
      The use of this report is subject to the requirements of the Appraisal Institute relating to review by its duly authorized
      representatives.
 Designated Appraisal Institute Member Certify:                                                 Designated Appraisal Institute Member Certify:
    As of the date of this report, I   have /     have not completed                               As of the date of this report, I    have /    have not completed
    the continuing education program of the Appraisal Institute.                                   the continuing education program of the Appraisal Institute.
 APPRAISER:                                                                                     CO-APPRAISER:
 Signature                                                                                      Signature
 Name        Stephen Rochkind, SRA                                                              Name
 Report Date        02/27/2020                                                                  Report Date
 Trainee          Licensed          Certified Residential           Certified General          Trainee          Licensed          Certified Residential            Certified General
 License #        30004176                                       State MD                       License #                                                       State
 Expiration Date 09/15/2022                                                                     Expiration Date
* NOTICE: The Appraisal Institute publishes this form for use by appraisers where the appraiser deems use of the form appropriate. Depending on the assignment, the appraiser may need
to provide additional data, analysis and work product not called for in this form. The Appraisal Institute plays no role in completing the form and disclaims any responsibility for the data,
analysis or any other work product provided by the individual appraiser(s).
AI Reports® AI-900.03 Assumptions and Limiting Conditions/Certification                        © Appraisal Institute 2008, All Rights Reserved                                  December 2008
                           Graphs86-7 Filed 12/17/21 Page 63 of 127
Case 1:18-cv-03331-MMJM Document




            Form SCNLTR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
             MRIS Tax Card
Case 1:18-cv-03331-MMJM    for the 86-7
                        Document    Subject
                                         FiledProperty
                                               12/17/21 Page 64 of 127




            Form SCNLTR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                       Case 1:18-cv-03331-MMJM
                                          WrittenDocument
                                                  Addendum86-7 Filed 12/17/21 Page      65 of 127
                                                                               File No. 20-0047B
Owner               Caldwell McMillan Jr & Eliza McCartney
Property Address    1886 Crownsville Rd
City                Annapolis                                    County Anne Arundel                           State MD   Zip Code 21401
Client              Melehy & Associates LLC

     Prior Services:

     I have performed no other services, as an appraiser or in any other capacity, regarding the property that is the
     subject of the work under review within the three-year period immediately preceding acceptance of this assignment.


     Assumptions and Limiting Conditions:
     This appraisal report has been made with the following assumptions and limiting conditions:

     This is an Appraisal Report, which is intended to comply with the reporting requirements set forth under Standards
     Rule 2-2A of the Uniform Standards of Professional Appraisal Practice for an Appraisal Report. As such, it presents
     only discussions of the data, reasoning, and analyses that were used in the appraisal process to develop the
     appraiser's opinion of value. Supporting documentation that is not provided with the report concerning the data,
     reasoning, and analyses is retained in the appraiser's file. The depth of discussion contained in this report is specific
     to the needs of the client and for the intended use stated in the report. The appraiser is not responsible for
     unauthorized use of this report.

     The legal description furnished is assumed to be correct. The appraiser assumes no responsibility for matters legal
     in character, nor renders any opinion as to the title, which is assumed to be good.

                   Owner of Record: Caldwell McMillan Jr & Eliza McCartney
                   Legal Description: Twin Hills Lot 28R-A
                   Zoning: RA - Residential Agricultural

     The property was appraised as having knowledgeable ownership and competent management.

     The appraiser has made no survey and assumes no responsibility in connection with such matters.

     The information identified in this report as being furnished by others was believed to be reliable, but no responsibility
     for its accuracy is assumed.

     If the appraiser has made a sketch of the improvements taken from the measurements of the exterior of the
     building. Interior measurements/labeling are approximate.

     Unless otherwise stated in this report, the existence of hazardous material, which may or may not be present on the
     property, was not observed by the appraiser. The appraiser has no knowledge of the existence of such materials on
     or in the properties. The appraiser, however, is not qualified to detect such substance(s). The presence of
     substances such as asbestos, urea-formaldehyde foam insulation, or other potentially hazardous materials may
     affect the values of the properties. The value estimates are predicated on the assumption that there were no such
     materials on or in the property that would cause a loss in value. No responsibility is assumed for any such conditions
     or for expertise or engineering knowledge required to discover them.

     The appraiser assumes that there are no hidden or unapparent conditions of the property or subsoil which would
     render them more or less valuable. The appraiser assumes no responsibility for such conditions or for engineering
     studies, which might be required to discover such factors.

     Information, estimates, and opinions furnished to the appraiser and contained in this report were obtained from
     sources considered reliable and believed to be true and correct. However, the appraiser can assume no
     responsibility for accuracy of such items furnished to the appraiser.

     Neither all nor any part of the contents of this report shall be conveyed to the public through advertising, public
     relations, news, sales, or other media without the written consent and approval of the author, particularly as to
     valuation conclusions, the identity of the appraisers, or the firm with which they are connected, or any reference to
     the Appraisal Institute or the MAI or SRA designation.



                                         Form TADD_LT - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                      Case 1:18-cv-03331-MMJM
                                         WrittenDocument
                                                 Addendum86-7 Filed 12/17/21 Page      66 of 127
                                                                              File No. 20-0047B
Owner              Caldwell McMillan Jr & Eliza McCartney
Property Address   1886 Crownsville Rd
City               Annapolis                                    County Anne Arundel                           State MD   Zip Code 21401
Client             Melehy & Associates LLC

     Extent to Which the Property Is Identified

     Physical characteristics
     In this appraisal assignment, I viewed the subject improvements in order to gather information about the physical
     characteristics of the subject improvements that are relevant to the valuation problem.

     Extent to Which the Property Is Inspected

     I viewed the subject property.

     Type and Extent of the Data Researched

     Sales of similar properties that have occurred over the past were researched in geographic area.

     Type and Extent of Analysis Applied

     The value opinions presented in this report are based upon review and analysis of the market conditions affecting
     real property value, including land values, cost and depreciation estimates, the attributes of competitive properties,
     and sales data for residential properties.

     The appraisal problem did not warrant an intensive highest and best use study. Given the nature of the subject real
     estate, my conclusion of highest and best use was based on logic and observed evidence.

     I have considered all three approaches and then reconciled them to arrive at a final opinion of value for the subject
     property. I may not have used all three approaches.

     There are three traditional approaches used to arrive at an opinion of value of real estate: the sales comparison
     approach, the cost approach, and the income capitalization approach. All three approaches to value were
     considered to arrive at an opinion of the market value of the subject property as of the date of this appraisal.

     After selecting the sales, a comparative analysis of relevant factors that influence value was undertaken to adjust the
     sales to the subject property based upon the actions and preferences demonstrated by the participants in the
     marketplace.

     Three approaches to value have been considered in arriving at an opinion of value of the leased fee (fee simple)
     interest in the subject property. In the reconciliation, I considered the quantity and quality of the data available under
     each approach, the advantages and/or the disadvantages of each approach, and the relevance of each to the
     subject property and the appraisal problem.



     Market Area Description and Characteristics:
     The Washington Metropolitan Area, formally known as the Washington–Arlington–Alexandria, DC–VA–MD–WV MSA, and
     also known as the National Capital Region, is a U.S. Metropolitan Statistical Area (MSA) defined by the United States Office of
     Management and Budget. It is also part of the larger Baltimore–Washington Metropolitan Area, the fourth-largest combined
     statistical area in the United States.

     The Washington Metropolitan Area is the most educated and affluent metropolitan area in the United States. As of the 2008
     Census Bureau estimate, the population of the Washington Metropolitan Area was estimated to be 5,358,130, making it the
     ninth-largest metropolitan area in the country

     Anne Arundel County covers 416 square miles and as of 2007 has a estimated population of 515,745. Boasting 534 miles of
     shoreline along the Chesapeake Bay, Anne Arundel County is a study in contrasts, ranging from Baltimore-Washington
     International Airport and bustling centers of high technology and research industries to the rural charm of small towns and
     rolling farmland and the rich history of Annapolis and the U.S. Naval Academy.


                                        Form TADD_LT - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                      Case 1:18-cv-03331-MMJM
                                         WrittenDocument
                                                 Addendum86-7 Filed 12/17/21 Page      67 of 127
                                                                              File No. 20-0047B
Owner              Caldwell McMillan Jr & Eliza McCartney
Property Address   1886 Crownsville Rd
City               Annapolis                                    County Anne Arundel                           State MD   Zip Code 21401
Client             Melehy & Associates LLC


     The foundation of the County's economy is Internet-based businesses, telecommunications, distribution and technical support
     services. Other growth industries are health-care, medical products and services and computer-related business services. Anne
     Arundel County is also becoming a major center for national and international company headquarters. The County's 11,981
     businesses include Northrop Grumman; ARINC; CIENA Corp; Computer Sciences Corp. and USinternetworking.

     Annapolis is the capital of the state of Maryland, as well as the county seat of Anne Arundel County. It has a population of
     36,408 (July 2006 est.), and is situated on the Chesapeake Bay at the mouth of the Severn River, 26 miles (42 km) south of
     Baltimore and about 29 miles (47 km) east of Washington D.C. Annapolis is part of the Baltimore-Washington Metropolitan
     Area. The city was the temporary capital of the United States in 1783–1784 and the site of the Annapolis Peace Conference,
     held in November 2007, at the United States Naval Academy. St. John's College is also in Annapolis.

     Transportation

     Bus: The Annapolis Department of Transportation (ADOT) provides bus service with eleven routes. The extensive system
     serves the State capital with recreational areas, shopping centers, educational and medical facilities and employment hubs.
     ADOT also offers transportation for elderly and persons with disabilities.

     Railway: Oddly, Annapolis is the only capital city in America bereft of rail transport of any sort. From 1840 to 1968, Annapolis
     was connected to the outside world by the railroads. The Washington, Baltimore & Annapolis Railroad (WB&A) operated two
     electrified interurban lines that brought passengers into the city from both the South and the North. The southern route ran down
     King George Street and Main Street, leading directly to the statehouse, while the northern route entered town via Glen Burnie. In
     1935, the WB&A went bankrupt due to the effects of the Great Depression and suspended service along its southern route,
     while the newly created Baltimore and Annapolis Railroad (B&A) retained service on the northern route. Steam trains of the
     Baltimore and Ohio Railroad also occasionally operated over the line to Annapolis, primarily for special Naval Academy
     movements. Passenger rail service on the B&A was eventually discontinued in 1950; freight service ceased in 1968 after the
     dilapidated trestle crossing the Severn River was condemned. The tracks were eventually dismantled in 1976.

     The popular Baltimore & Annapolis Trail now occupies the former railway line between the Severn River and Glen Burnie. The
     equally popular Washington, Baltimore and Annapolis Trail occupies the WB&A's southern route into Annapolis.

     Education

     Annapolis is served by the Anne Arundel County Public Schools system.

     Founded in 1898, Annapolis High School has an internationally recognized IB International Program. Nearby Broadneck High
     School (founded in 1982) and Annapolis both have Advanced Placement Programs. St. Mary's High School and Elementary
     School are located in downtown Annapolis on Spa Creek. Eastport Elementary School, Aleph Bet Jewish Day School, Annapolis
     Area Christian School, St. Martins Lutheran School, Severn School, and Indian Creek School are also in the Annapolis area.
     The Key School, located on a converted farm in the neighborhood of Hillsmere, has also served Annapolis for over 50 years.

     Highest and Best Use

     The Highest and Best Use of a property refers to the reasonably probable and legal use of vacant land or an
     improved property that is physically possible, appropriately supported, and financially feasible and that results in the
     highest value.

     A highest and best use study seeks to identify which use would bring maximum value to a piece of vacant land or an
     improved parcel.

     A highest and best use analysis for a given property must meet certain criteria that flow in sequential order. The
     order is generally:

           1. Legally permissible

           2. Physically possible

           3. Financially feasible

           4. Maximally productive



                                        Form TADD_LT - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                       Case 1:18-cv-03331-MMJM
                                          WrittenDocument
                                                  Addendum86-7 Filed 12/17/21 Page      68 of 127
                                                                               File No. 20-0047B
Owner               Caldwell McMillan Jr & Eliza McCartney
Property Address    1886 Crownsville Rd
City                Annapolis                                    County Anne Arundel                           State MD   Zip Code 21401
Client              Melehy & Associates LLC
     The sequential order of legally permissible and physically possible may be applied in either order. However, a
     potential use must comply with both these requirements prior to moving into the financially feasible or maximally
     productive analysis. That is, a use that is not legally permissible by zoning or other restrictions, or that is not
     physically possible due to site or building limitations would not be considered for financial feasibility.

     Highest and Best Use As Vacant vs. As Improved

     Most real estate is either vacant (land) or improved with one or more buildings. As a result, highest and best use
     analyses are divided into two subcategories:

           ·       Highest and best use, as though vacant

           ·       Highest and best use, as improved

     An analysis related to the highest and best use as vacant seeks to identify the highest and best use of the land as if
     it were available for development. This is done by either hypothetically assuming there is no building (if it is already
     improved), or by utilizing the existing characteristics (if there is no building) of the land.

     An analysis related to the highest and best use as improved is applicable if the property is improved, or slated for
     new construction. This analysis seeks to identify the highest and best use of the property while taking into account
     the existing or proposed improvements. If an appraisal is being developed for new construction, it is common to also
     analyze the highest and best use as if improved as proposed.

     Highest and Best Use as though Vacant

     In an analysis into the highest and best use, as though vacant, appraisers generally seek to answer the following
     questions:

           ·       Should the land be developed or left vacant?

           ·       If left vacant, when would future development be financially feasible?

           ·       If developed, what kind of improvement should be built?

     As vacant, the highest and best use of a property may be to continue keeping the land vacant if there is no
     financially feasible development option. This could be considered an interim use until conditions become favorable
     for development. Or, the highest and best use could be to immediately develop the land into a specific property type.

     It is important to understand that if an appraiser is developing a stand-along highest and best use study of the land
     as though vacant, or even if it is a subsection of an appraisal, the residual land value determined as a result of the
     analysis may not be absolute, nor certified. Rather, it is used to compare relative alternatives to understand which
     use would yield a higher value.

     Highest and Best Use as Improved

     Conversely, the highest and best use analysis, as improved, generally contemplates 3 options:

           1. Demolish the existing improvements and redevelop the site - No

           2. Continue the existing use - Yes

           3. Modify the existing use - Yes

      These relate to the following questions:

           ·       Should the existing improvements on the property be maintained in their current state, should they be
                   altered in some manner to make them more valuable, or should they be demolished to create a vacant site
                   for a different use? The home needs about $40,000 to $60,000 in work. The furnace is not working needs to
                   be replaced. The roof is 15 years old. The windows are from the 1980s. There is water damage in the


                                         Form TADD_LT - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                       Case 1:18-cv-03331-MMJM
                                          WrittenDocument
                                                  Addendum86-7 Filed 12/17/21 Page      69 of 127
                                                                               File No. 20-0047B
Owner               Caldwell McMillan Jr & Eliza McCartney
Property Address    1886 Crownsville Rd
City                Annapolis                                    County Anne Arundel                           State MD      Zip Code 21401
Client              Melehy & Associates LLC
                   basement. There are several dilapidated old structures that will need to be removed. An investor will want to
                   be compensated for removing the structures, risk and the time value of money.

           ·       If renovation or redevelopment is warranted, when should the new improvements be built? Now. The
                   condition of the property will make getting a conventional loan very difficult. The most likely purchaser of the
                   property is an investor.

     If the existing use will remain financially feasible and is more profitable than modification or redevelopment, the
     existing use will remain the highest and best use of the property as improved.

     If the benefits of modifying the property or redeveloping the property outweigh all costs, including demolition, altering
     the property is generally considered financially feasible.



     Sales Comparison Approach To Value Comments:
     In the market analysis, adjustments were made for additional baths. This is due to the market's recognition of these
     items above and beyond the contributory value of marginal living area. Though room counts vary slightly, the
     comparable sales were otherwise similar to the subject and appropriate adjustments were made.

     The appraiser notes the variance in price per living area among the comparable sales is due primarily to their
     differing Gross Living Area (GLA) amenities and that they are considered to be effectively competing in the
     marketplace. GLA adjustments are made at $50 per square foot.

     The sales were chosen for the overall compatibility in most areas of comparison and the most similar comparable
     sales available from an extensive search of data. All comparable sales are within the subject's market area.
     Comparable one is a pending sale. The actual selling price is unknown. However, I spoke with the agent. It is approx
     pending at $422,000.

     Comparable sale two is an auction home. It appeared to be a slightly outlier to the low side. Comparables four and
     five had seller concessions. Both were in far superior condition to the subject property.

     Comparables Summary & Estimated Indicated Value

                                       Sale Price                           Grs Adj %                            Ind Value                    Weight

     Comp #1:                          422,000                              40.95                                354,800                      20.72
     Comp #2:                          300,000                              34.83                                294,500                      21.36
     Comp #3:                          430,000                              49.84                                303,700                      19.79
     Comp #4:                          485,000                              51.81                                336,900                      19.58
     Comp #5:                          505,000                              61.72                                326,700                      18.55


     ESTIMATED INDICATED VALUE OF THE SUBJECT                                                 : 323,090
     YOUR INDICATED VALUE OF THE SUBJECT                                                      : 323,000


     Estimated indicated value is determined by using the Gross Adjustment of sale price for each comparable as a
     measure of the relative quality of the comp. A lower adjustment indicates a better comp, and vice versa. The ratio
     of gross dollar adjustment to sale price for each of the comps is used to calculate the weight each comp should have
     in a weighted average calculation. This weighted average is used as the indicated value of the subject.

     As with any method, this technique is not perfect. However, it does do a very good job of giving more weight to the
     most similar comps while at the same time minimizing values near the extremes of the indicated value range.




                                         Form TADD_LT - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                            Subject
                      Case 1:18-cv-03331-MMJM       Photo
                                              Document    Page
                                                        86-7 Filed 12/17/21 Page 70 of 127
Owner              Caldwell McMillan Jr & Eliza McCartney
Property Address   1886 Crownsville Rd
City               Annapolis                                     County Anne Arundel                           State MD         Zip Code 21401
Client             Melehy & Associates LLC
                                                                                                                            Subject Front
                                                                                                         1886 Crownsville Rd
                                                                                                         Sales Price       N/A
                                                                                                         Gross Living Area 2,250
                                                                                                         Total Rooms       7
                                                                                                         Total Bedrooms    4
                                                                                                         Total Bathrooms   2.0
                                                                                                         Location          Twin Hills
                                                                                                         View              Average
                                                                                                         Site              2.6 ac
                                                                                                         Quality           Q3
                                                                                                         Age               70




                                                                                                                            Subject Rear




                                                                                                                            Subject Street


                                                                                                                              The subject's street is a
                                                                                                                              larger more traveled road.
                                                                                                                              However, the improvements
                                                                                                                              are located far enough off
                                                                                                                              the traffic street not to be a
                                                                                                                              problem.




                                     Form LPICPIX.DSS_LTR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                      Case 1:18-cv-03331-MMJM Exterior
                                               DocumentPhotos
                                                        86-7 Filed 12/17/21 Page 71 of 127
Owner              Caldwell McMillan Jr & Eliza McCartney
Property Address   1886 Crownsville Rd
City               Annapolis                                    County Anne Arundel                        State MD        Zip Code 21401
Client             Melehy & Associates LLC




                         Screen patio and deck                                                         Outbuilding - smoke house




           Dilapidated outbuilding needs to be demolished                                          Collapsed roof on the out building




        Large amount of chemical containers in out building                                                Shed is personal property
                                     Form PIC6_LT - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                      Case 1:18-cv-03331-MMJM Exterior
                                               DocumentPhotos
                                                        86-7 Filed 12/17/21 Page 72 of 127
Owner              Caldwell McMillan Jr & Eliza McCartney
Property Address   1886 Crownsville Rd
City               Annapolis                                    County Anne Arundel                       State MD        Zip Code 21401
Client             Melehy & Associates LLC




                              Out building                                                                   Alt rear photo




                             Out buildings                                     New well may have to be moved - may be too close to the septic field




            Back of outbuilding - stairs fell off the building                               Well equipment for main house located on out building
                                          Form PIC6_LT - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                      First FloorDocument
                      Case 1:18-cv-03331-MMJM     Photograph
                                                          86-7Addendum
                                                               Filed 12/17/21 Page 73 of 127
Owner              Caldwell McMillan Jr & Eliza McCartney
Property Address   1886 Crownsville Rd
City               Annapolis                                     County Anne Arundel                         State MD        Zip Code 21401
Client             Melehy & Associates LLC




                     Eating area in the family room                                                              Family room




                                Bedroom                                                                            Hallway




                            Master bedroom                                                                        Old Master bath
                                        Form PIC6_LT - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                      First FloorDocument
                      Case 1:18-cv-03331-MMJM     Photograph
                                                          86-7Addendum
                                                               Filed 12/17/21 Page 74 of 127
Owner              Caldwell McMillan Jr & Eliza McCartney
Property Address   1886 Crownsville Rd
City               Annapolis                                     County Anne Arundel                            State MD          Zip Code 21401
Client             Melehy & Associates LLC




                              Master bath                                                                             Bedroom




                               Bedroom                                                                                Hall bath




                                 bath                                                                           Stairs to the attic level
                                         Form PIC6_LT - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                      Attic FloorDocument
                      Case 1:18-cv-03331-MMJM     Photograph
                                                          86-7Addendum
                                                               Filed 12/17/21 Page 75 of 127
Owner              Caldwell McMillan Jr & Eliza McCartney
Property Address   1886 Crownsville Rd
City               Annapolis                                     County Anne Arundel                            State MD        Zip Code 21401
Client             Melehy & Associates LLC




                                 Attic                                                                                  Attic




                                         Form PIC6_LT - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                    Basement Floor
                      Case 1:18-cv-03331-MMJM      Photograph
                                               Document       Addendum
                                                        86-7 Filed 12/17/21 Page 76 of 127
Owner              Caldwell McMillan Jr & Eliza McCartney
Property Address   1886 Crownsville Rd
City               Annapolis                                     County Anne Arundel                           State MD         Zip Code 21401
Client             Melehy & Associates LLC




               Stairs to the basement level of the home                                                           Laundry room




        Old oil fueled furnace has not worked in eight years                                                        Fuse box




                               Breakers                                                                          Rec room with fireplace
                                          Form PIC6_LT - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                     Basement Floor
                       Case 1:18-cv-03331-MMJM      Photograph
                                                Document       Addendum
                                                         86-7 Filed 12/17/21 Page 77 of 127
Owner               Caldwell McMillan Jr & Eliza McCartney
Property Address    1886 Crownsville Rd
City                Annapolis                                       County Anne Arundel                         State MD      Zip Code 21401
Client              Melehy & Associates LLC




                                  Rec room                                                                RAD heating system damaged




                        Water marks on the ceiling                                                          Fireplace in the Rec room




                   Water damage to the basement walls                                                                   Den
                                         Form PIC6_LT - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                    Basement Floor
                      Case 1:18-cv-03331-MMJM      Photograph
                                               Document       Addendum
                                                        86-7 Filed 12/17/21 Page 78 of 127
Owner              Caldwell McMillan Jr & Eliza McCartney
Property Address   1886 Crownsville Rd
City               Annapolis                                   County Anne Arundel                          State MD         Zip Code 21401
Client             Melehy & Associates LLC




                                 Den                                                                                Bath




                                 Bath                                                                            Rec room




                                 Den                                                                               Kitchen area
                                        Form PIC6_LT - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                    Basement Floor
                      Case 1:18-cv-03331-MMJM      Photograph
                                               Document       Addendum
                                                        86-7 Filed 12/17/21 Page 79 of 127
Owner              Caldwell McMillan Jr & Eliza McCartney
Property Address   1886 Crownsville Rd
City               Annapolis                                    County Anne Arundel                            State MD           Zip Code 21401
Client             Melehy & Associates LLC




                             Kitchen area                                                                              Rec room




                                        Form PIC6_LT - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                          Area Map
Case 1:18-cv-03331-MMJM Document 86-7 Filed 12/17/21 Page 80 of 127




            Form SCNLTR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                        Location Map
Case 1:18-cv-03331-MMJM Document 86-7 Filed 12/17/21 Page 81 of 127




            Form SCNLTR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                        Location Map
Case 1:18-cv-03331-MMJM Document 86-7 Filed 12/17/21 Page 82 of 127




            Form SCNLTR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                              Location Map
                      Case 1:18-cv-03331-MMJM Document 86-7 Filed 12/17/21 Page 83 of 127
Owner              Caldwell McMillan Jr & Eliza McCartney
Property Address   1886 Crownsville Rd
City               Annapolis                                    County Anne Arundel                          State MD    Zip Code 21401
Client             Melehy & Associates LLC




                                     Form MAP_LT.NHOOD - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                          Plat Map
Case 1:18-cv-03331-MMJM Document 86-7 Filed 12/17/21 Page 84 of 127




            Form SCNLTR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                          Comparable
                      Case 1:18-cv-03331-MMJM        Photo
                                              Document 86-7 Page
                                                             Filed 12/17/21 Page 85 of 127
Owner              Caldwell McMillan Jr & Eliza McCartney
Property Address   1886 Crownsville Rd
City               Annapolis                                     County Anne Arundel                           State MD      Zip Code 21401
Client             Melehy & Associates LLC
                                                                                                                       Comparable 1
                                                                                                         1780 Crownsville Rd
                                                                                                         Prox. to Subject  0.68 miles N
                                                                                                         Sales Price       422,000
                                                                                                         Gross Living Area 1,734
                                                                                                         Total Rooms
                                                                                                         Total Bedrooms    4
                                                                                                         Total Bathrooms   2
                                                                                                         Location          Crownsville
                                                                                                         View              Average
                                                                                                         Site              1.27 ac
                                                                                                         Quality           Q3
                                                                                                         Age               65




                                                                                                                       Comparable 2
                                                                                                         1339 Generals Hwy
                                                                                                         Prox. to Subject  2.79 miles N
                                                                                                         Sales Price       300,000
                                                                                                         Gross Living Area 1,421
                                                                                                         Total Rooms
                                                                                                         Total Bedrooms    2
                                                                                                         Total Bathrooms   2.0
                                                                                                         Location          Crownsville
                                                                                                         View              Average
                                                                                                         Site              1.20 ac
                                                                                                         Quality           Q3
                                                                                                         Age               57




                                                                                                                       Comparable 3
                                                                                                         2888 Spring Lakes Dr
                                                                                                         Prox. to Subject  2.54 miles SW
                                                                                                         Sales Price       430,000
                                                                                                         Gross Living Area 2,856
                                                                                                         Total Rooms
                                                                                                         Total Bedrooms    4
                                                                                                         Total Bathrooms   2.1
                                                                                                         Location          Spring Lakes
                                                                                                         View              Average
                                                                                                         Site              1.13 ac
                                                                                                         Quality           Q3
                                                                                                         Age               47




                                     Form LPICPIX.DS%_LTR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                          Comparable
                      Case 1:18-cv-03331-MMJM        Photo
                                              Document 86-7 Page
                                                             Filed 12/17/21 Page 86 of 127
Owner              Caldwell McMillan Jr & Eliza McCartney
Property Address   1886 Crownsville Rd
City               Annapolis                                     County Anne Arundel                           State MD     Zip Code 21401
Client             Melehy & Associates LLC
                                                                                                                       Comparable 4
                                                                                                         1730 Underwood Rd
                                                                                                         Prox. to Subject  4.07 miles W
                                                                                                         Sale Price        485,000
                                                                                                         Gross Living Area 1,379
                                                                                                         Total Rooms
                                                                                                         Total Bedrooms    3
                                                                                                         Total Bathrooms   2.0
                                                                                                         Location          Gambrills
                                                                                                         View              Average
                                                                                                         Site              2.00 ac
                                                                                                         Quality           Q3
                                                                                                         Age               55




                                                                                                                       Comparable 5
                                                                                                         1827 Underwood Rd
                                                                                                         Prox. to Subject  4.21 miles W
                                                                                                         Sale Price        505,000
                                                                                                         Gross Living Area 1,176
                                                                                                         Total Rooms
                                                                                                         Total Bedrooms    3
                                                                                                         Total Bathrooms   2.0
                                                                                                         Location          Crofton
                                                                                                         View              Average
                                                                                                         Site              4.51 ac
                                                                                                         Quality           Q3
                                                                                                         Age               48




                                                                                                                                          6




                                     Form LPICPIX.DS%_LTR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                            Plat 86-7 Filed 12/17/21 Page 87 of 127
Case 1:18-cv-03331-MMJM Document




            Form SCNLTR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                      Case 1:18-cv-03331-MMJM Building
                                               DocumentSketch
                                                        86-7 Filed 12/17/21 Page 88 of 127
Owner              Caldwell McMillan Jr & Eliza McCartney
Property Address   1886 Crownsville Rd
City               Annapolis                                     County Anne Arundel                           State MD   Zip Code 21401
Client             Melehy & Associates LLC




                                       Form SKT.BLDSKI - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
              History of home
Case 1:18-cv-03331-MMJM       values86-7
                           Document  by MarketStats
                                         Filed 12/17/21 Page 89 of 127




            Form SCNLTR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                          Schools
Case 1:18-cv-03331-MMJM Document 86-7 Filed 12/17/21 Page 90 of 127




            Form SCNLTR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                         Well Issues
Case 1:18-cv-03331-MMJM Document 86-7 Filed 12/17/21 Page 91 of 127




            Form SCNLTR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                         Well Issues
Case 1:18-cv-03331-MMJM Document 86-7 Filed 12/17/21 Page 92 of 127




            Form SCNLTR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
           Builder impact Document
Case 1:18-cv-03331-MMJM   fees - Anne
                                   86-7Arundel   County Page 93 of 127
                                         Filed 12/17/21




            Form SCNLTR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                Stephen Rochkind,
Case 1:18-cv-03331-MMJM           SRA -Filed
                         Document 86-7  License
                                             12/17/21 Page 94 of 127




            Form SCNLTR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
Case 1:18-cv-03331-MMJM Document 86-7 Filed 12/17/21 Page 95 of 127




            Form SCNLTR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
Case 1:18-cv-03331-MMJM Document 86-7 Filed 12/17/21 Page 96 of 127




        EXHIBIT
          F3
Case 1:18-cv-03331-MMJM Document 86-7 Filed 12/17/21 Page 97 of 127




                   APPRAISAL OF REAL PROPERTY

                                     LOCATED AT:
                               1886 Crownsville Rd # 28R-B
                                  Annapolis, MD 21401
                                  Twin Hills Lot 28R-B

                                             FOR:
                                 Melehy & Associates LLC
                               8403 Colesville Rd, Suite 610
                                 Silver Spring, MD 20910

                                           AS OF:
                                          2/17/20202

                                              BY:
                                  Stephen Rochkind, SRA

                                   Area Appraisal Services




            Form GA1_LT - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                              Case 1:18-cv-03331-MMJM Document 86-7 Filed 12/17/21 Page 98 of 127
Owner                   Caldwell McMillan Jr & Eliza McCartney                                                                                                                                              File No. 20-0047C
Property Address        1886 Crownsville Rd # 28R-B
City                    Annapolis                                                                              County Anne Arundel                                                           State MD                      Zip Code 21401
Client                  Melehy & Associates LLC


                                                                                                     TABLE OF CONTENTS

        Cover Page .................................................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         1
        Letter of Transmittal ...................................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         2
        Appraisal Report - Residential - Page 1 ......................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         3
        Appraisal Report - Residential - Page 2 ......................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         4
        Appraisal Report - Residential - Page 3 ......................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         5
        Appraisal Report - Residential - Page 4 ......................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         6
        Appraisal Report - Residential - Page 5 ......................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         7
        Appraisal Report - Residential - Page 6 ......................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         8
        Appraisal Report - Residential - Page 7 ......................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         9
        Appraisal Report - Residential - Page 8 ......................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         10
        Additional Comparables 4-6 .......................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         11
        Certifications & Limiting Conditions - Residential ........................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         12
        Graphs .......................................................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         14
        MRIS Tax Card for the Subject Property ......................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         15
        Written Addendum ......................................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         16
        Subject's lot ...............................................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         22
        Area Map ....................................................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         23
        Location Map .............................................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         24
        Location Map .............................................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         25
        Plat Map .....................................................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         26
        Plat .............................................................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         27
        History of home values by MarketStats .......................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         28
        Schools ......................................................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         29
        Well Issues .................................................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         30
        Well Issues .................................................................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         31
        Builder impact fees - Anne Arundel County .................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         32
        Stephen Rochkind, SRA - License ..............................................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         33
        Qualifications of Appraiser - Stephen Rochkind, SRA ..................................................................................................................................................................................................................
                                                                                                                                                                                                                                                         34




                                                                    Form TOCNP_LT - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                                                           Area Appraisal Services, Inc.

                       Case 1:18-cv-03331-MMJM
                               Client File #:  Document 86-7Appraisal
                                                                Filed File 12/17/21
                                                                           #:        Page 99 of 127
                                                                                  20-0047C



                                                                Appraisal Report • Residential
                                       Appraisal Company:  Area Appraisal Services
                                       Address:  7131 Arlington Rd, Suite 455, Bethesda, MD 20814
            Form 100.05*               Phone: (301) 215-7567        Fax: (301) 215-7568       Website: www.areadc.com
 Appraiser:   Stephen Rochkind, SRA                                                          Co-Appraiser:
 AI Membership (if any):  SRA     MAI                   SRPA      AI-GRS         AI-RRS      AI Membership (if any):             SRA       MAI        SRPA        AI-GRS          AI-RRS
 AI Status (if any):       Candidate for Designation             Practicing Affiliate        AI Status (if any):          Candidate for Designation               Practicing Affiliate
Other Professional Affiliation:       Appraisal Institute                                    Other Professional Affiliation:
 E-mail:      Steve@areadc.com                                                               E-mail:
 Client:      Melehy & Associates LLC                                                        Contact:      Suvita Melehy
 Address:     8403 Colesville Rd, Suite 610, Silver Spring, MD 20910
 Phone:       (301) 587-6364              Fax:                                               E-mail:       smelehy@melehylaw.com;mcmillanmcca@nku.edu
 SUBJECT PROPERTY IDENTIFICATION
 Address:        1886 Crownsville Rd # 28R-B
 City:   Annapolis                                              County:      Anne Arundel                                     State:    MD            ZIP:   21401
 Legal Description:        Twin Hills Lot 28R-B


 Tax Parcel #:      020285290058962                                                                     RE Taxes:    Not yet assess                   Tax Year:
 Use of the Real Estate As of the Date of Value:                   Residential - Single Family vacant parcel of land
 Use of the Real Estate Reflected in the Appraisal:                Residential - Single Family vacant parcel of land
 Opinion of highest and best use (if required):                    Residential - Single Family Detached
 SUBJECT PROPERTY HISTORY
 Owner of Record:       Caldwell McMillan Jr & Eliza McCartney
 Description and analysis of sales within 3 years (minimum) prior to effective date of value:                       N/A




 Description and analysis of agreements of sale (contracts), listings, and options:                          N/A




 RECONCILIATIONS AND CONCLUSIONS
 Indication of Value by Sales Comparison Approach                                            $    145,000
 Indication of Value by Cost Approach                                                        $    N/A
 Indication of Value by Income Approach                                                      $    N/A
 Final Reconciliation of the Methods and Approaches to Value:       Most reliance was placed on comparable sale one, which is located next
 door. It sold in 2017 for $157,000. It is a larger site and very similar to Topo. The subject property will have access off a less traveled street.




 Opinion of Value as of:                   2/17/20202                                        $ 145,000
 Exposure Time:        1 to 3 months
           The above opinion is subject to:            Hypothetical Conditions          and/or         Extraordinary Assumptions          cited on the following page.
*NOTICE: The Appraisal Institute publishes this form for use by appraisers where the appraiser deems use of the form appropriate. Depending on the assignment, the
appraiser may need to provide additional data, analysis and work product not called for in this form. The Appraisal Institute makes no representations, warranties or
guarantees as to, and assumes no responsibility for, the data, analysis or work product, or third party certifications, verifications, data specifications, scores, indexes,
or valuation tools, used or provided by the individual appraiser(s) or others in the specific contents of the AI Reports®. AI Reports® AI-100.05 Appraisal Report -
Residential© Appraisal Institute 2017, All Rights Reserved                                                                                                         June 2017

                                                Form AI1005B - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
 Client:               Case 1:18-cv-03331-MMJM
                          Melehy & Associates LLC Document 86-7 Filed 12/17/21
                                                                        Client File #: Page 100 of 127
 Subject Property:          1886 Crownsville Rd # 28R-B, Annapolis, MD 21401                                       Appraisal File #:            20-0047C

 ASSIGNMENT PARAMETERS
 Intended User(s):        Melehy & Associates LLC and State of Maryland Court System.
 Intended Use:            Establish a market value for a court case. This appraisal will be used as a litigation support document.
 This report is not intended by the appraiser for any other use or by any other user.

 Type of Value:        Market Value                                                     Effective Date of Value:          2/17/20202
 Interest Appraised:         Fee Simple            Leasehold           Other
 Hypothetical Conditions: (A hypothetical condition is that which is contrary to what exists, but is asserted by the appraiser for the purpose
 of analysis. Any hypothetical condition may affect the assignment results.)




 Extraordinary Assumptions: (An extraordinary assumption is directly related to a specific assignment and presumes uncertain information
 to be factual. If found to be false this assumption could alter the appraiser’s opinions or conclusions. Any extraordinary assumption may affect
 the assignment results.)     The subject property is a grandfathered use, which would allow two lots on the 4.27 acres of land. If this is not
 true the value would be different.



 This is an Appraisal Report in accordance with Standard Rule 2-2(a) of the Uniform Standard of Professional Appraisal Practice (USPAP).
 SCOPE OF WORK
 Definition: The scope of work is the type and extent of research and analysis in an assignment. Scope of work includes the extent to which the
 property is identified, the extent to which tangible property is inspected, the type and extent of data research, and the type and extent of analysis
 applied to arrive at credible opinions or conclusions. The specific scope of work for this assignment is identified below and throughout this report.
 Scope of Subject Property Inspection/Data Sources Utilized                                Approaches to Value Developed
 Appraiser                                                                                 Cost Approach:
 Property Inspection:          Yes        No                                                   Is necessary for credible results and is developed in this analysis
 Date of Inspection:  2/17/20202                                                               Is not necessary for credible results; not developed in this analysis
                                                                                               Is not necessary for credible results but is developed in this analysis
 Describe Scope of Property Inspection, Source of Area Calculations
 and Data Sources Consulted:      See attached scope of work
                                                                                           Sales Comparison Approach:
                                                                                               Is necessary for credible results and is developed in this analysis
                                                                                               Is not necessary for credible results; not developed in this analysis
 Co-Appraiser                                                                                  Is not necessary for credible results but is developed in this analysis
 Property Inspection:          Yes        No
 Date of Inspection:
 Describe Scope of Property Inspection, Source of Area Calculations
                                                                                           Income Approach:
 and Data Sources Consulted:                                                                   Is necessary for credible results and is developed in this analysis
                                                                                               Is not necessary for credible results; not developed in this analysis
                                                                                               Is not necessary for credible results but is developed in this analysis



 Additional Scope of Work Comments:

 See attached addendum showing additional scope of work comments.




 Significant Real Property Appraisal Assistance:               None         Disclose Name(s) and contribution:




*NOTICE: The Appraisal Institute publishes this form for use by appraisers where the appraiser deems use of the form appropriate. Depending on the assignment, the
appraiser may need to provide additional data, analysis and work product not called for in this form. The Appraisal Institute makes no representations, warranties or
guarantees as to, and assumes no responsibility for, the data, analysis or work product, or third party certifications, verifications, data specifications, scores, indexes,
or valuation tools, used or provided by the individual appraiser(s) or others in the specific contents of the AI Reports®. AI Reports® AI-100.05 Appraisal Report -
Residential© Appraisal Institute 2017, All Rights Reserved                                                                                                         June 2017
                                               Form AI1005B - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
 Client:               Case 1:18-cv-03331-MMJM
                          Melehy & Associates LLC Document 86-7 Filed 12/17/21
                                                                        Client File #: Page 101 of 127
 Subject Property:           1886 Crownsville Rd # 28R-B, Annapolis, MD 21401                                      Appraisal File #:            20-0047C

 MARKET AREA ANALYSIS
 Location          Built Up                                  Growth                      Supply & Demand              Value Trend              Typical Marketing Time
    Urban                          Under 25%                     Rapid                        Shortage                   Increasing               Under 3 Months
    Suburban                       25-75%                        Stable                       In Balance                 Stable                   3-6 Months
    Rural                          Over 75%                      Slow                         Over Supply                Decreasing               Over 6 Months
             Neighborhood Single Family Profile                             Neighborhood Land Use                     Neighborhood Name:              Twin Hills
        Price                                Age
     136,000               Low                0              1 Family            85 % Commercial               5 % PUD       Condo             HOA: $              /
    4,100,000              High              325             Condo                  % Vacant                  10 % Amenities: N/A
     485,000           Predominant           36              Multifamily            %                            %

 Market area description and characteristics:                 See attached addendum




 SITE ANALYSIS
 Dimensions:           No Survey was provided to appraiser                                Area:      74,052 sf
 View:        Average                                                                     Shape:      Irregular
 Drainage:         Appears Adeq                                                           Utility:   Average
 Site Similarity/Conformity To Neighborhood                                               Zoning/Deed Restriction
 Size:                                       View:                                        Zoning: RA - Residential                     Covenants, Condition & Restrictions
    Smaller than Typical                        Favorable                                 Agricultural                                    Yes      No        Unknown
    Typical                                        Typical                                   Legal        No zoning                    Documents Reviewed
    Larger than Typical                            Less than Favorable                       Legal, non-conforming                        Yes     No
                                                                                             Illegal                                   Ground Rent      $               /
 Utilities                                                                                Off Site Improvements
 Electric                 Public        Other                                             Street               Public        Private       Asphalt
 Gas                      Public        Other       None                                  Alley                Public        Private       None
 Water                    Public        Other       None                                  Sidewalk             Public        Private       None
 Sewer                    Public        Other       None                                  Street Lights        Public        Private       Electric
 Site description and characteristics:  No zoning letter of subject's confirmatory statutes has been provided for our review nor are we
 aware of the existence of same. The appraiser takes no responsibility of issues relating to expertise in this area. See attached photo
 addendum showing site characteristics. The subject site has overhead electric, which is typical of the area.




 HIGHEST AND BEST USE ANALYSIS
    Present Use         Proposed Use       Other Interim use
 Summary of highest and best use analysis:      A vacant parcel of land is not the highest and best use of the site. It would be better to build
 a single family detached home 3,000 sf to 4,000 sf with at least a two car garage and basement.




*NOTICE: The Appraisal Institute publishes this form for use by appraisers where the appraiser deems use of the form appropriate. Depending on the assignment, the
appraiser may need to provide additional data, analysis and work product not called for in this form. The Appraisal Institute makes no representations, warranties or
guarantees as to, and assumes no responsibility for, the data, analysis or work product, or third party certifications, verifications, data specifications, scores, indexes,
or valuation tools, used or provided by the individual appraiser(s) or others in the specific contents of the AI Reports®. AI Reports® AI-100.05 Appraisal Report -
Residential© Appraisal Institute 2017, All Rights Reserved                                                                                                         June 2017
                                                  Form AI1005B - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
 Client:              Case 1:18-cv-03331-MMJM
                         Melehy & Associates LLC Document 86-7 Filed 12/17/21
                                                                       Client File #: Page 102 of 127
 Subject Property:          1886 Crownsville Rd # 28R-B, Annapolis, MD 21401                                      Appraisal File #:          20-0047C

 SITE VALUATION
 Site Valuation Methodology
    Sales Comparison Approach: A set of procedures in which a value indication is derived by comparing the property being appraised to similar properties
    that have been sold recently, then applying appropriate units of comparison and making adjustments to the sale prices of the comparables based on the
    elements of comparison. The sales comparison approach may be used to value improved properties, vacant land, or land being considered as though vacant; it
    is the most common and preferred method of land valuation when an adequate supply of comparable sales are available.

    Market Extraction: A method of estimating land value in which the depreciated cost of the improvements on the improved property is estimated and
    deducted from the total sale price to arrive at an estimated sale price for the land; most effective when the improvements contribute little to the total sale price
    of the property.

    Alternative Method: (Describe methodology and rationale)




 Site Valuation
             ITEM                SUBJECT                       COMPARISON 1                  COMPARISON 2                  COMPARISON 3
 Address       1886 Crownsville Rd # 28R-B             1888 Crownsville Rd          932 Chesterfield Rd           LOt PT2H Davidsonville Rd
               Annapolis, MD 21401                     Annapolis, MD 21401          Annapolis, MD 21401           Gambrills, MD 21054
 Proximity to Subject                                  Next door                    Alt market area               Alt market area
 Data Source/                                          Seller                       BrightMLS#1004619246          BrightMLS#1000131519
 Verification                                          BrightMLS Tax Cards          BrightMLS Tax Cards           BrightMLS Tax Cards
 Sales Price                      $                N/A                  $   157,000                   $   170,000                  $    215,000
 Price /                          $                                     $ 64,344.26                   $ 45,212.77                  $ 107,500.00
 Sale Date                        N/A                    6/15/2017                           10/23/2018                             9/27/2018
 Location                         Twin Hills             Twin Hills                          Crownsville                            Davidsonville                   -50,000
 Site Size                        1.7 ac                 2.44 ac                     -12,000 3.76 ac                        -35,000 2.00 ac                               0
 Site View                        Average                Average                             Average                                Average
 Site Improvements
Water                             Well                   Well                               Well                                   Well
Sewer                             Septic                 Septic                             Septic                                 Septic
Nat Gas                           None                   None                               None                                   None
Sub-dividable                     Yes - 2 lots           No                                 No                                     No
Improved                          Vacant                 Vacant                             Old home                               Vacant
 Net Adjustment                                                 +       –     $     -12,000        +    –     $            -35,000        +            –     $      -50,000
                                                         Net Adj.      7.6 %                Net Adj.   20.6 %                      Net Adj.          23.3 %
 Indicated Value                                         Gross Adj.    7.6 % $      145,000 Gross Adj. 20.6 % $            135,000 Gross Adj.
                                                                                                                                  165,000            23.3 % $
 Prior Transfer N/A                        N/A                          N/A                              N/A
 History         N/A                       N/A                          N/A                              N/A
 Site Valuation Comments:  Most reliance was placed on comparable sale one, which is located very close to the subject property. It sold
 in 2017, which was somewhat a similar market.

 Builder impact fee run high in Anne Arundel County Maryland. I estimate that builder impact fees we be approx. $30,000 to $35,000 per
 vacant site. See addendum showing what builder impact fees pay for such as water, sewer, schools, police and fire. Drilling a well and
 installing a septic system are also expensive.


 Site Valuation Reconciliation:          Most reliance was placed on comparable land sale one.




 Opinion of Site Value                                                                   $ 145,000
*NOTICE: The Appraisal Institute publishes this form for use by appraisers where the appraiser deems use of the form appropriate. Depending on the assignment, the
appraiser may need to provide additional data, analysis and work product not called for in this form. The Appraisal Institute makes no representations, warranties or
guarantees as to, and assumes no responsibility for, the data, analysis or work product, or third party certifications, verifications, data specifications, scores, indexes,
or valuation tools, used or provided by the individual appraiser(s) or others in the specific contents of the AI Reports®. AI Reports® AI-100.05 Appraisal Report -
Residential© Appraisal Institute 2017, All Rights Reserved                                                                                                         June 2017
                                                 Form AI1005B - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                       ADDITIONAL
                      Case 1:18-cv-03331-MMJM     COMPARABLE
                                               Document 86-7 FiledSALES
                                                                   12/17/21 Page 103 of 127
 Client:                    Melehy & Associates LLC                                                                Client File #:
 Subject Property:          1886 Crownsville Rd # 28R-B, Annapolis, MD 21401                                       Appraisal File #:             20-0047C

 SALES COMPARISON APPROACH
        ITEM           SUBJECT                                COMPARISON 4                            COMPARISON 5                               COMPARISON 6
 Address       1886 Crownsville Rd # 28R-B
               Annapolis, MD 21401
 Proximity to Subject
 Data Source/
 Verification
 Original List Price             $                N/A                         $                                       $                                      $
 Final List Price                $                N/A                         $                                       $                                      $
 Sale Price                      $                N/A                         $                                       $                                      $
 Sale Price % of Original List                      %                                       %                                          %                                   %
 Sale Price % of Final List                         %                                       %                                          %                                   %
 Closing Date                    N/A
 Days On Market
 Price/Gross Living Area         $                      $                                       $                                          $
                                    DESCRIPTION        DESCRIPTION     +(-) Adjustment    DESCRIPTION     +(-) Adjustment    DESCRIPTION     +(-) Adjustment
 Financing Type                  N/A
 Concessions                     N/A
 Contract Date                   N/A
 Location                        Twin Hills
 Site Size                       4.27 ac (2 sites)
 Site Views/Appeal               Average
 Design and Appeal               Rambler
 Quality of Construction         Q3
 Age                             70
 Condition                       C5
 Above Grade Bedrooms             Bedrooms     4     Bedrooms                          Bedrooms                           Bedrooms
 Above Grade Baths                Baths       2.0 Baths                                Baths                              Baths
 Gross Living Area                      2,250 Sq.Ft.            Sq.Ft.                             Sq.Ft.                             Sq.Ft.
 Below Grade Area                Partial Basement
 Below Grade Finish              Finished
 Other Living Area               None
 None                            None
 Functional Utility              Average
 Heating/Cooling                 RAD/Units
 Car Storage                     None
 Fireplace                       3 F/P
 Amenities                       Fence, Scr Patio
 KItchen                         Inferior Kit
 Net Adjustment (total)                                        +       –     $                         +       –     $                            +     –     $
                                                        Net Adj.           %                    Net Adj.           %                       Net Adj.         %
 Adjusted Sale Price                                    Gross Adj.         %$                   Gross Adj.         %$                      Gross Adj.       %$
 Prior Transfer N/A
 History        N/A
 Comments:

 These sales are being provided as a supporting indicator of value. See attached addendum.




*NOTICE: The Appraisal Institute publishes this form for use by appraisers where the appraiser deems use of the form appropriate. Depending on the assignment, the
appraiser may need to provide additional data, analysis and work product not called for in this form. The Appraisal Institute makes no representations, warranties or
guarantees as to, and assumes no responsibility for, the data, analysis or work product, or third party certifications, verifications, data specifications, scores, indexes,
or valuation tools, used or provided by the individual appraiser(s) or others in the specific contents of the AI Reports®. AI Reports® AI-100.05 Appraisal Report -
Residential© Appraisal Institute 2017, All Rights Reserved                                                                                                         June 2017
                                            Form AI1005B.(AC) - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                        Case 1:18-cv-03331-MMJM Document 86-7 Filed 12/17/21 Page 104 of 127
 Client:                       Melehy & Associates LLC                                                                      Client File #:
 Subject Property:             1886 Crownsville Rd # 28R-B, Annapolis, MD 21401                                             Appraisal File #:             20-0047C

 STATEMENT OF ASSUMPTIONS AND LIMITING CONDITIONS
 This appraisal is subject to the following assumptions and limiting conditions:
     This report is prepared using forms developed and copyrighted by the Appraisal Institute. However, the content, analyses, and
     opinions set forth in this report are the sole product of the appraiser. The Appraisal Institute is not liable for any of the content,
     analyses, or opinions set forth herein.
     No responsibility is assumed for matters legal in character or nature. No opinion is rendered as to title, which is assumed to be
     good and marketable. All existing liens, encumbrances, and assessments have been disregarded, unless otherwise noted, and
     the property is appraised as though free and clear, having responsible ownership and competent management.
     I have examined the property described herein exclusively for the purposes of identification and description of the real property.
     The objective of our data collection is to develop an opinion of the highest and best use of the subject property and make
     meaningful comparisons in the valuation of the property. The appraiser’s observations and reporting of the subject
     improvements are for the appraisal process and valuation purposes only and should not be considered as a warranty of any
     component of the property. This appraisal assumes (unless otherwise specifically stated) that the subject is structurally sound
     and all components are in working condition.
     I will not be required to give testimony or appear in court because of having made an appraisal of the property in question,
     unless specific arrangements to do so have been made in advance, or as otherwise required by law.
     I have noted in this appraisal report any significant adverse conditions (such as needed repairs, depreciation, the presence of
     hazardous wastes, toxic substances, etc.) discovered during the data collection process in performing the appraisal. Unless
     otherwise stated in this appraisal report, we have no knowledge of any hidden or unapparent physical deficiencies or adverse
     conditions of the property (such as, but not limited to, needed repairs, deterioration, the presence of hazardous wastes, toxic
     substances, adverse environmental conditions, etc.) that would make the property less valuable, and have assumed that there
     are no such conditions and make no guarantees or warranties, express or implied. We will not be responsible for any such
     conditions that do exist or for any engineering or testing that might be required to discover whether such conditions exist.
     Because I am not an expert in the field of environmental hazards, this appraisal report must not be considered as an
     environmental assessment of the property. I obtained the information, estimates, and opinions furnished by other parties and
     expressed in this appraisal report from reliable public and/or private sources that I believe to be true and correct.
     I will not disclose the contents of this appraisal report except as provided for in the Uniform Standards of Professional Appraisal
     Practice, and/or applicable federal, state or local laws.
     The Client is the party or parties who engage an appraiser (by employment or contract) in a specific assignment. A party
     receiving a copy of this report from the client does not, as a consequence, become a party to the appraiser-client relationship.
     Any person who receives a copy of this appraisal report as a consequence of disclosure requirements that apply to an
     appraiser’s client, does not become an intended user of this report unless the client specifically identified them at the time of the
     assignment. The appraiser's written consent and approval must be obtained before this appraisal report can be conveyed by
     anyone to the public through advertising, public relations, news, sales, or other media.
     A true and complete copy of this report contains 35 pages including exhibits which are considered an integral part of the
     report. The appraisal report may not be properly understood without access to the entire report.
     If this valuation conclusion is subject to satisfactory completion, repairs, or alterations, it is assumed that the improvements will
     be completed competently and without significant deviation.




 VALUE DEFINITION
      Market Value Definition (below)                                                           Alternate Value Definition (attached)
  MARKET VALUE is defined as the most probable price which a property should bring in a competitive and open market under all
  conditions requisite to a fair sale, the buyer and seller each acting prudently and knowledgeably, and assuming the price is not
  affected by undue stimulus. Implicit in this definition is the consummation of a sale as of a specified date and the passing of title
  from seller to buyer under conditions whereby:
 1. buyer and seller are typically motivated;
 2. both parties are well informed or well advised and acting in what they consider their own best interests;
 3. a reasonable time is allowed for exposure in the open market;
 4. payment is made in terms of cash in U.S. dollars or in terms of financial arrangements comparable thereto; and
 5. the price represents the normal consideration for the property sold unaffected by special or creative financing or sales
    concessions granted by anyone associated with the sale.
                                                                          Source: The Dictionary of Real Estate Appraisal, 4th ed., Appraisal Institute
* NOTICE: The Appraisal Institute publishes this form for use by appraisers where the appraiser deems use of the form appropriate. Depending on the assignment, the appraiser may need
to provide additional data, analysis and work product not called for in this form. The Appraisal Institute plays no role in completing the form and disclaims any responsibility for the data,
analysis or any other work product provided by the individual appraiser(s).
AI Reports® AI-900.03 Assumptions and Limiting Conditions/Certification                        © Appraisal Institute 2008, All Rights Reserved                                  December 2008
                                                    Form AI9003 - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                        Case 1:18-cv-03331-MMJM Document 86-7 Filed 12/17/21 Page 105 of 127
 Client:                       Melehy & Associates LLC                                                                      Client File #:
 Subject Property:             1886 Crownsville Rd # 28R-B, Annapolis, MD 21401                                             Appraisal File #:             20-0047C

 APPRAISER CERTIFICATION
 I certify that, to the best of my knowledge and belief:
      The statements of fact contained in this report are true and correct.
      The reported analysis, opinions, and conclusions are limited only by the reported assumptions and limiting conditions, and are
      my personal, unbiased professional analysis, opinions, and conclusions.
      I have no present (unless specified below) or prospective interest in the property that is the subject of this report, and I have no
      (unless specified below) personal interest with respect to the parties involved.
      I have no bias with respect to any property that is the subject of this report or to the parties involved with this assignment.
      My engagement in this assignment was not contingent upon the developing or reporting predetermined results.
      My compensation for completing this assignment is not contingent upon the development or reporting of a predetermined value
      or direction in value that favors the cause of the client, the amount of the value opinion, the attainment of a stipulated result, or
      the occurrence of a subsequent event directly related to the use of this appraisal.
      My analysis, opinions, and conclusions were developed, and this report has been prepared, in conformity with the Uniform
      Standards of Professional Appraisal Practice.
      Individuals who have provided significant real property appraisal assistance are named below. The specific tasks performed by
      those named are outlined in the Scope of Work section of this report.
           None               Name(s)
      As previously identified in the Scope Of Work section of this report, the signer(s) of this report certify to the inspection of the
      property that is the subject of this report as follows:
      Property inspected by Appraiser                              Yes          No
      Property inspected by Co-Appraiser                           Yes          No




 ADDITIONAL CERTIFICATION FOR APPRAISAL INSTITUTE MEMBERS
 Appraisal Institute Member Certify:
      The reported analyses, opinions, and conclusions were developed, and this report has been prepared, in conformity with the
      requirements of the Code of Professional Ethics & Standards of Professional Appraisal Practice of the Appraisal Institute, which
      include the Uniform Standards of Professional Appraisal Practice.
      The use of this report is subject to the requirements of the Appraisal Institute relating to review by its duly authorized
      representatives.
 Designated Appraisal Institute Member Certify:                                                 Designated Appraisal Institute Member Certify:
    As of the date of this report, I   have /     have not completed                               As of the date of this report, I    have /    have not completed
    the continuing education program of the Appraisal Institute.                                   the continuing education program of the Appraisal Institute.
 APPRAISER:                                                                                     CO-APPRAISER:
 Signature                                                                                      Signature
 Name        Stephen Rochkind, SRA                                                              Name
 Report Date        02/27/2020                                                                  Report Date
 Trainee          Licensed          Certified Residential           Certified General          Trainee          Licensed          Certified Residential            Certified General
 License #        30004176                                       State MD                       License #                                                       State
 Expiration Date 09/15/2022                                                                     Expiration Date
* NOTICE: The Appraisal Institute publishes this form for use by appraisers where the appraiser deems use of the form appropriate. Depending on the assignment, the appraiser may need
to provide additional data, analysis and work product not called for in this form. The Appraisal Institute plays no role in completing the form and disclaims any responsibility for the data,
analysis or any other work product provided by the individual appraiser(s).
AI Reports® AI-900.03 Assumptions and Limiting Conditions/Certification                        © Appraisal Institute 2008, All Rights Reserved                                  December 2008
                           Graphs
Case 1:18-cv-03331-MMJM Document 86-7 Filed 12/17/21 Page 106 of 127




            Form SCNLTR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
              MRIS Tax Card
Case 1:18-cv-03331-MMJM     for the86-7
                         Document   Subject
                                        FiledProperty
                                              12/17/21 Page 107 of 127




             Form SCNLTR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                      Case 1:18-cv-03331-MMJM   Document
                                          Written        86-7 Filed 12/17/21 Page
                                                  Addendum                    File No.108  of 127
                                                                                      20-0047C
Owner               Caldwell McMillan Jr & Eliza McCartney
Property Address    1886 Crownsville Rd # 28R-B
City                Annapolis                                    County Anne Arundel                           State MD   Zip Code 21401
Client              Melehy & Associates LLC

     Prior Services:

     I have performed no other services, as an appraiser or in any other capacity, regarding the property that is the
     subject of the work under review within the three-year period immediately preceding acceptance of this assignment.


     Assumptions and Limiting Conditions:
     This appraisal report has been made with the following assumptions and limiting conditions:

     This is an Appraisal Report, which is intended to comply with the reporting requirements set forth under Standards
     Rule 2-2A of the Uniform Standards of Professional Appraisal Practice for an Appraisal Report. As such, it presents
     only discussions of the data, reasoning, and analyses that were used in the appraisal process to develop the
     appraiser's opinion of value. Supporting documentation that is not provided with the report concerning the data,
     reasoning, and analyses is retained in the appraiser's file. The depth of discussion contained in this report is specific
     to the needs of the client and for the intended use stated in the report. The appraiser is not responsible for
     unauthorized use of this report.

     The legal description furnished is assumed to be correct. The appraiser assumes no responsibility for matters legal
     in character, nor renders any opinion as to the title, which is assumed to be good.

                   Owner of Record: Caldwell McMillan Jr & Eliza McCartney
                   Legal Description: Twin Hills Lot 28R-B

                   Zoning: RA - Residential Agricultural

     The property was appraised as having knowledgeable ownership and competent management.

     The appraiser has made no survey and assumes no responsibility in connection with such matters.

     The information identified in this report as being furnished by others was believed to be reliable, but no responsibility
     for its accuracy is assumed.

     If the appraiser has made a sketch of the improvements taken from the measurements of the exterior of the
     building. Interior measurements/labeling are approximate.

     Unless otherwise stated in this report, the existence of hazardous material, which may or may not be present on the
     property, was not observed by the appraiser. The appraiser has no knowledge of the existence of such materials on
     or in the properties. The appraiser, however, is not qualified to detect such substance(s). The presence of
     substances such as asbestos, urea-formaldehyde foam insulation, or other potentially hazardous materials may
     affect the values of the properties. The value estimates are predicated on the assumption that there were no such
     materials on or in the property that would cause a loss in value. No responsibility is assumed for any such conditions
     or for expertise or engineering knowledge required to discover them.

     The appraiser assumes that there are no hidden or unapparent conditions of the property or subsoil which would
     render them more or less valuable. The appraiser assumes no responsibility for such conditions or for engineering
     studies, which might be required to discover such factors.

     Information, estimates, and opinions furnished to the appraiser and contained in this report were obtained from
     sources considered reliable and believed to be true and correct. However, the appraiser can assume no
     responsibility for accuracy of such items furnished to the appraiser.

     Neither all nor any part of the contents of this report shall be conveyed to the public through advertising, public
     relations, news, sales, or other media without the written consent and approval of the author, particularly as to
     valuation conclusions, the identity of the appraisers, or the firm with which they are connected, or any reference to
     the Appraisal Institute or the MAI or SRA designation.

                                         Form TADD_LT - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                     Case 1:18-cv-03331-MMJM   Document
                                         Written        86-7 Filed 12/17/21 Page
                                                 Addendum                    File No.109  of 127
                                                                                     20-0047C
Owner              Caldwell McMillan Jr & Eliza McCartney
Property Address   1886 Crownsville Rd # 28R-B
City               Annapolis                                    County Anne Arundel                           State MD   Zip Code 21401
Client             Melehy & Associates LLC


     Extent to Which the Property Is Identified

     Physical characteristics
     In this appraisal assignment, I viewed the subject improvements in order to gather information about the physical
     characteristics of the subject improvements that are relevant to the valuation problem.

     Extent to Which the Property Is Inspected

     I viewed the subject site.

     Type and Extent of the Data Researched

     Sales of similar properties that have occurred over the past were researched in geographic area.

     Type and Extent of Analysis Applied

     The value opinions presented in this report are based upon review and analysis of the market conditions affecting
     real property value, including land values, cost and depreciation estimates, the attributes of competitive properties,
     and sales data for residential properties.

     The appraisal problem did not warrant an intensive highest and best use study. Given the nature of the subject real
     estate, my conclusion of highest and best use was based on logic and observed evidence.

     I have considered all three approaches and then reconciled them to arrive at a final opinion of value for the subject
     property. I may not have used all three approaches.

     There are three traditional approaches used to arrive at an opinion of value of real estate: the sales comparison
     approach, the cost approach, and the income capitalization approach. All three approaches to value were
     considered to arrive at an opinion of the market value of the subject property as of the date of this appraisal.

     After selecting the sales, a comparative analysis of relevant factors that influence value was undertaken to adjust the
     sales to the subject property based upon the actions and preferences demonstrated by the participants in the
     marketplace.

     Three approaches to value have been considered in arriving at an opinion of value of the leased fee (fee simple)
     interest in the subject property. In the reconciliation, I considered the quantity and quality of the data available under
     each approach, the advantages and/or the disadvantages of each approach, and the relevance of each to the
     subject property and the appraisal problem.



     Market Area Description and Characteristics:
     The Washington Metropolitan Area, formally known as the Washington–Arlington–Alexandria, DC–VA–MD–WV MSA, and
     also known as the National Capital Region, is a U.S. Metropolitan Statistical Area (MSA) defined by the United States Office of
     Management and Budget. It is also part of the larger Baltimore–Washington Metropolitan Area, the fourth-largest combined
     statistical area in the United States.

     The Washington Metropolitan Area is the most educated and affluent metropolitan area in the United States. As of the 2008
     Census Bureau estimate, the population of the Washington Metropolitan Area was estimated to be 5,358,130, making it the
     ninth-largest metropolitan area in the country

     Anne Arundel County covers 416 square miles and as of 2007 has a estimated population of 515,745. Boasting 534 miles of
     shoreline along the Chesapeake Bay, Anne Arundel County is a study in contrasts, ranging from Baltimore-Washington
     International Airport and bustling centers of high technology and research industries to the rural charm of small towns and


                                        Form TADD_LT - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                     Case 1:18-cv-03331-MMJM   Document
                                         Written        86-7 Filed 12/17/21 Page
                                                 Addendum                    File No.110  of 127
                                                                                     20-0047C
Owner              Caldwell McMillan Jr & Eliza McCartney
Property Address   1886 Crownsville Rd # 28R-B
City               Annapolis                                    County Anne Arundel                           State MD   Zip Code 21401
Client             Melehy & Associates LLC
     rolling farmland and the rich history of Annapolis and the U.S. Naval Academy.

     The foundation of the County's economy is Internet-based businesses, telecommunications, distribution and technical support
     services. Other growth industries are health-care, medical products and services and computer-related business services. Anne
     Arundel County is also becoming a major center for national and international company headquarters. The County's 11,981
     businesses include Northrop Grumman; ARINC; CIENA Corp; Computer Sciences Corp. and USinternetworking.

     Annapolis is the capital of the state of Maryland, as well as the county seat of Anne Arundel County. It has a population of
     36,408 (July 2006 est.), and is situated on the Chesapeake Bay at the mouth of the Severn River, 26 miles (42 km) south of
     Baltimore and about 29 miles (47 km) east of Washington D.C. Annapolis is part of the Baltimore-Washington Metropolitan
     Area. The city was the temporary capital of the United States in 1783–1784 and the site of the Annapolis Peace Conference,
     held in November 2007, at the United States Naval Academy. St. John's College is also in Annapolis.

     Transportation

     Bus: The Annapolis Department of Transportation (ADOT) provides bus service with eleven routes. The extensive system
     serves the State capital with recreational areas, shopping centers, educational and medical facilities and employment hubs.
     ADOT also offers transportation for elderly and persons with disabilities.

     Railway: Oddly, Annapolis is the only capital city in America bereft of rail transport of any sort. From 1840 to 1968, Annapolis
     was connected to the outside world by the railroads. The Washington, Baltimore & Annapolis Railroad (WB&A) operated two
     electrified interurban lines that brought passengers into the city from both the South and the North. The southern route ran down
     King George Street and Main Street, leading directly to the statehouse, while the northern route entered town via Glen Burnie. In
     1935, the WB&A went bankrupt due to the effects of the Great Depression and suspended service along its southern route,
     while the newly created Baltimore and Annapolis Railroad (B&A) retained service on the northern route. Steam trains of the
     Baltimore and Ohio Railroad also occasionally operated over the line to Annapolis, primarily for special Naval Academy
     movements. Passenger rail service on the B&A was eventually discontinued in 1950; freight service ceased in 1968 after the
     dilapidated trestle crossing the Severn River was condemned. The tracks were eventually dismantled in 1976.

     The popular Baltimore & Annapolis Trail now occupies the former railway line between the Severn River and Glen Burnie. The
     equally popular Washington, Baltimore and Annapolis Trail occupies the WB&A's southern route into Annapolis.

     Education

     Annapolis is served by the Anne Arundel County Public Schools system.

     Founded in 1898, Annapolis High School has an internationally recognized IB International Program. Nearby Broadneck High
     School (founded in 1982) and Annapolis both have Advanced Placement Programs. St. Mary's High School and Elementary
     School are located in downtown Annapolis on Spa Creek. Eastport Elementary School, Aleph Bet Jewish Day School, Annapolis
     Area Christian School, St. Martins Lutheran School, Severn School, and Indian Creek School are also in the Annapolis area.
     The Key School, located on a converted farm in the neighborhood of Hillsmere, has also served Annapolis for over 50 years.

     Highest and Best Use

     The Highest and Best Use of a property refers to the reasonably probable and legal use of vacant land or an
     improved property that is physically possible, appropriately supported, and financially feasible and that results in the
     highest value.

     A highest and best use study seeks to identify which use would bring maximum value to a piece of vacant land or an
     improved parcel.

     A highest and best use analysis for a given property must meet certain criteria that flow in sequential order. The
     order is generally:

           1. Legally permissible

           2. Physically possible

           3. Financially feasible




                                        Form TADD_LT - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                      Case 1:18-cv-03331-MMJM   Document
                                          Written        86-7 Filed 12/17/21 Page
                                                  Addendum                    File No.111  of 127
                                                                                      20-0047C
Owner               Caldwell McMillan Jr & Eliza McCartney
Property Address    1886 Crownsville Rd # 28R-B
City                Annapolis                                    County Anne Arundel                           State MD   Zip Code 21401
Client              Melehy & Associates LLC
           4. Maximally productive

     The sequential order of legally permissible and physically possible may be applied in either order. However, a
     potential use must comply with both these requirements prior to moving into the financially feasible or maximally
     productive analysis. That is, a use that is not legally permissible by zoning or other restrictions, or that is not
     physically possible due to site or building limitations would not be considered for financial feasibility.

     Highest and Best Use As Vacant vs. As Improved

     Most real estate is either vacant (land) or improved with one or more buildings. As a result, highest and best use
     analyses are divided into two subcategories:

           ·       Highest and best use, as though vacant

           ·       Highest and best use, as improved

     An analysis related to the highest and best use as vacant seeks to identify the highest and best use of the land as if
     it were available for development. This is done by either hypothetically assuming there is no building (if it is already
     improved), or by utilizing the existing characteristics (if there is no building) of the land.

     An analysis related to the highest and best use as improved is applicable if the property is improved, or slated for
     new construction. This analysis seeks to identify the highest and best use of the property while taking into account
     the existing or proposed improvements. If an appraisal is being developed for new construction, it is common to also
     analyze the highest and best use as if improved as proposed.

     Highest and Best Use as though Vacant

     In an analysis into the highest and best use, as though vacant, appraisers generally seek to answer the following
     questions:

           ·       Should the land be developed or left vacant? Developed

           ·       If left vacant, when would future development be financially feasible? Yes.

           ·       If developed, what kind of improvement should be built? Single family detached home; 3,000 sf to 4,000 sf
                   with at least a two car garage.

     As vacant, the highest and best use of a property may be to continue keeping the land vacant if there is no
     financially feasible development option. This could be considered an interim use until conditions become favorable
     for development. Or, the highest and best use could be to immediately develop the land into a specific property type.

     It is important to understand that if an appraiser is developing a stand-along highest and best use study of the land
     as though vacant, or even if it is a subsection of an appraisal, the residual land value determined as a result of the
     analysis may not be absolute, nor certified. Rather, it is used to compare relative alternatives to understand which
     use would yield a higher value.

     Highest and Best Use as Improved

     Conversely, the highest and best use analysis, as improved, generally contemplates 3 options:

           1. Demolish the existing improvements and redevelop the site - No

           2. Continue the existing use - Yes

           3. Modify the existing use - Yes

      These relate to the following questions:




                                         Form TADD_LT - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                      Case 1:18-cv-03331-MMJM   Document
                                          Written        86-7 Filed 12/17/21 Page
                                                  Addendum                    File No.112  of 127
                                                                                      20-0047C
Owner               Caldwell McMillan Jr & Eliza McCartney
Property Address    1886 Crownsville Rd # 28R-B
City                Annapolis                                    County Anne Arundel                           State MD      Zip Code 21401
Client              Melehy & Associates LLC
           ·       Should the existing improvements on the property be maintained in their current state, should they be
                   altered in some manner to make them more valuable, or should they be demolished to create a vacant site
                   for a different use? The home needs about $40,000 to $60,000 in work. The furnace is not working needs to
                   be replaced. The roof is 15 years old. The windows are from the 1980s. There is water damage in the
                   basement. There are several dilapidated old structures that will need to be removed. An investor will want to
                   be compensated for removing the structures, risk and the time value of money.

           ·       If renovation or redevelopment is warranted, when should the new improvements be built? Now. The
                   condition of the property will make getting a conventional loan very difficult. The most likely purchaser of the
                   property is an investor.

     If the existing use will remain financially feasible and is more profitable than modification or redevelopment, the
     existing use will remain the highest and best use of the property as improved.

     If the benefits of modifying the property or redeveloping the property outweigh all costs, including demolition, altering
     the property is generally considered financially feasible.



     Sales Comparison Approach To Value Comments:
     In the market analysis, adjustments were made for additional baths. This is due to the market's recognition of these
     items above and beyond the contributory value of marginal living area. Though room counts vary slightly, the
     comparable sales were otherwise similar to the subject and appropriate adjustments were made.

     The appraiser notes the variance in price per living area among the comparable sales is due primarily to their
     differing Gross Living Area (GLA) amenities and that they are considered to be effectively competing in the
     marketplace. GLA adjustments are made at $50 per square foot.

     The sales were chosen for the overall compatibility in most areas of comparison and the most similar comparable
     sales available from an extensive search of data. All comparable sales are within the subject's market area.
     Comparable one is a pending sale. The actual selling price is unknown. However, I spoke with the agent. It is approx
     pending at $422,000.

     Comparable sale two is an auction home. It appeared to be a slightly outlier to the low side. Comparables four and
     five had seller concessions. Both were in far superior condition to the subject property.

     Comparables Summary & Estimated Indicated Value

                                       Sale Price                           Grs Adj %                            Ind Value                    Weight

     Comp #1:                          422,000                              65.83                                549,800                      20.39
     Comp #2:                          300,000                              99.83                                499,500                      18.01
     Comp #3:                          430,000                              74.26                                498,700                      19.80
     Comp #4:                          485,000                              67.28                                511,900                      20.29
     Comp #5:                          505,000                              49.84                                386,700                      21.51


     ESTIMATED INDICATED VALUE OF THE SUBJECT                                                 : 487,850
     YOUR INDICATED VALUE OF THE SUBJECT                                                      : 485,000


     Estimated indicated value is determined by using the Gross Adjustment of sale price for each comparable as a
     measure of the relative quality of the comp. A lower adjustment indicates a better comp, and vice versa. The ratio
     of gross dollar adjustment to sale price for each of the comps is used to calculate the weight each comp should have
     in a weighted average calculation. This weighted average is used as the indicated value of the subject.


                                         Form TADD_LT - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                     Case 1:18-cv-03331-MMJM   Document
                                         Written        86-7 Filed 12/17/21 Page
                                                 Addendum                    File No.113  of 127
                                                                                     20-0047C
Owner              Caldwell McMillan Jr & Eliza McCartney
Property Address   1886 Crownsville Rd # 28R-B
City               Annapolis                                    County Anne Arundel                           State MD   Zip Code 21401
Client             Melehy & Associates LLC


     As with any method, this technique is not perfect. However, it does do a very good job of giving more weight to the
     most similar comps while at the same time minimizing values near the extremes of the indicated value range.




                                        Form TADD_LT - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                                Subject's86-7
                       Case 1:18-cv-03331-MMJM Document   lot Filed 12/17/21 Page 114 of 127
Owner                Caldwell McMillan Jr & Eliza McCartney
Property Address     1886 Crownsville Rd # 28R-B
City                 Annapolis                                       County Anne Arundel                        State MD             Zip Code 21401
Client               Melehy & Associates LLC




                                 Out building                                                                      Gently rolling




              Level part - may be the building envelope                                                                 Level park




                   Damaged structure should be removed
                                         Form PIC6_LT - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                          Area Map
Case 1:18-cv-03331-MMJM Document 86-7 Filed 12/17/21 Page 115 of 127




            Form SCNLTR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                        Location 86-7
Case 1:18-cv-03331-MMJM Document Map Filed 12/17/21 Page 116 of 127




            Form SCNLTR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                        Location 86-7
Case 1:18-cv-03331-MMJM Document Map Filed 12/17/21 Page 117 of 127




            Form SCNLTR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                          Plat Map
Case 1:18-cv-03331-MMJM Document 86-7 Filed 12/17/21 Page 118 of 127




            Form SCNLTR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                            Plat 86-7 Filed 12/17/21 Page 119 of 127
Case 1:18-cv-03331-MMJM Document




            Form SCNLTR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
              History of home
Case 1:18-cv-03331-MMJM       values
                          Document   by MarketStats
                                   86-7 Filed 12/17/21 Page 120 of 127




             Form SCNLTR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                           Schools
Case 1:18-cv-03331-MMJM Document 86-7 Filed 12/17/21 Page 121 of 127




            Form SCNLTR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                         Well Issues
Case 1:18-cv-03331-MMJM Document 86-7 Filed 12/17/21 Page 122 of 127




            Form SCNLTR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                         Well Issues
Case 1:18-cv-03331-MMJM Document 86-7 Filed 12/17/21 Page 123 of 127




            Form SCNLTR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
            Builder impactDocument
Case 1:18-cv-03331-MMJM    fees - Anne
                                   86-7 Arundel  County Page 124 of 127
                                         Filed 12/17/21




             Form SCNLTR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                 Stephen Rochkind,
Case 1:18-cv-03331-MMJM            SRA -Filed
                         Document 86-7    License
                                              12/17/21 Page 125 of 127




             Form SCNLTR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
Case 1:18-cv-03331-MMJM Document 86-7 Filed 12/17/21 Page 126 of 127




            Form SCNLTR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                                             Area Appraisal Services, Inc.

                Case 1:18-cv-03331-MMJM Document 86-7 Filed 12/17/21 Page 127 of 127


                                                                                                                      INVOICE
                                                                                                                           INVOICE NUMBER
                                                                                                                             20-0047A
                                                                                                                               DATE
                                                                                                                             02/27/2020


                                                                                                                             REFERENCE
TO:                                                                                                 Internal Order #:         20-0047A
 Suvita Melehy                                                                                      Client File #:
 Melehy & Associates LLC
 8403 Colesville Rd                                                                                 Main File # on form:      20-0047A
 Suite 610                                                                                          Other File # on form:     Both Properties
 Silver Spring, MD 20910
 Telephone Number: (301) 587-6364              Fax Number:                                          Federal Tax ID:           XX-XXXXXXX
 Alternate Number:                             E-Mail: smelehy@melehylaw.com                        Employer ID:

10/5/2019

If you have any questions please call Stephen Rochkind, SRA at (301) 215-7567 x1
Please Make Check Payable To:

Stephen Rochkind DBA Area Appraisal Services
7131 Arlington Rd, Suite 455 (This is a new address)
Bethesda, MD 20814-2986
  **** Please put the Invoice Number on the check ****

DESCRIPTION
                 Client: Melehy & Associates LLC
      Property Address: 1886 Crownsville Rd
                   City: Annapolis
                County: Anne Arundel                                            State: MD                                   Zip: 21401
      Legal Description: Twin Hills Lot 28R-A and Lot 28R-B




FEES                                                                                                                                         AMOUNT
Appraisal Report
Entire Parcel                                                                                                                                   2,500.00
Value of the larger parcel                                                                                                                        600.00
Value of the smaller parcel                                                                                                                       600.00



                                                                                                                      SUBTOTAL                  3,700.00

PAYMENTS                                                                                                                                     AMOUNT
Check #:                   Date: 02/10/2020      Description: Deposit of $1,500 given by credit card                                            1,500.00
Check #:                   Date: 02/27/2020      Description: Paid by a credit card                                                             2,200.00
Check #:                   Date:                 Description:
                                                                                                                      SUBTOTAL                  3,700.00

                                                                                                                     TOTAL DUE           $            0




                                     Form NIV4_LT - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
